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                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION

  IN RE:                                             §   CHAPTER 11
                                                     §
  DARYL GREG SMITH and,                              §   CASE NO. 21-60162-RBK-11
  CANADIAN RIVER RANCH, LLC                          §   CASE NO. 21-60163-RBK-11
                                                     §   Jointly Administered Under
                                                     §   Case No. 21-60162-rbk
           Debtors.                                  §

              FOURTH INTERIM FEE APPLICATION OF WALLER LANSDEN
              DORTCH & DAVIS LLP, COUNSEL TO CHAPTER 11 TRUSTEE,
            FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
                   AND REIMBURSEMENT OF EXPENSES INCURRED

                     This pleading requests relief that may be adverse to your
                     interests.

                     If no timely response is filed within 21 days from the date of
                     service, the relief requested herein may be granted without a
                     hearing being held.

                     A timely filed response is necessary for a hearing to be held.

  TO THE HONORABLE RONALD B. KING,
  UNITED STATES BANKRUPTCY JUDGE:

           The Firm of Waller Lansden Dortch & Davis LLP (“Waller” or “Applicant”), counsel to

  Gregory S. Milligan (the “Trustee”), chapter 11 trustee in the above-captioned bankruptcy cases,

  submits its Fourth Interim Application for Allowance of Compensation for Services Rendered and

  Reimbursement for Expenses Incurred (“Application”) and hereby requests: (i) interim approval

  of fees earned in the amount of $217,323.50 and expenses incurred in the amount of $2,640.57,

  totaling $219,964.07; and (ii) authority to receive payment for such amounts from the Trustee. As

  detailed herein and summarized in the Fee Application Summary, submitted pursuant to

  Rule 2016(a)(1) of the Local Bankruptcy Rules and attached hereto as Exhibit A, Waller has

  expended 436.5 hours in this representation of the Trustee, at an average hourly rate of $497.88 in



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  representation of the Trustee during the Application Period (as defined below). In support thereof,

  Waller respectfully states and represents:

                                         NARRATIVE SUMMARY

           1.        Daryl Greg Smith (“Smith”) and Canadian River Ranch, LLC (together with Smith,

  the “Debtors”) each filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code

  on April 9, 2021 (the “Petition Date”).

           2.        On May 18, 2021, the Court ordered that the Debtors’ cases (the “Chapter 11

  Cases”) be jointly administered. See Order Granting Debtors’ Motion for Joint Administration

  [Doc. 29].

           3.        On June 29, 2021, the United States Trustee requested appointment of the Trustee

  in this matter, and the Court approved such appointment. See Order Approving Appointment of

  Gregory S. Milligan as Chapter 11 Trustee [Doc. 91].

           4.        The Court approved the retention of the law firm of Waller as counsel for the

  Trustee in this case effective as of June 29, 2021, by an order entered August 3, 2021 [Doc. 149]

  (the “Retention Order”).

           5.        Waller did not receive a retainer for this matter.

           6.        Pursuant to the Retention Order and Local Rules, Waller has served as the Trustee’s

  counsel with all fees and expenses subject to Bankruptcy Court approval. As stated above, the Fee

  Application Summary required by Rule 2016(a)(1) of the Local Bankruptcy Rules is attached

  hereto as Exhibit A.

           7.        For Waller’s representation of the Trustee, the Application requests fees on an

  overall blended hourly rate of $497.88. Specifically, the professionals and paraprofessionals

  involved in the representation and their hourly rates for bankruptcy and non-bankruptcy

  representations are listed below:


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      PROFESSIONAL/                             TITLE               HOURLY            TOTAL      TOTAL
      PARAPROFESSIONAL                                               RATE             HOURS    FEES BILLED
      Morris D. Weiss1                          Partner               $720              135.00    $93,384.00
      Jimar A. Sanders                          Partner               $560                12.6     $7,056.00
      Courtney K. Stone                         Partner               $505               153.7    $77,618.50
      William R. Nix                            Partner               $505                25.6    $12,928.00
      Hannah L. Berny                          Associate              $345                22.6     $7,797.00
      Kendria S. Lewis                         Associate              $345                 2.0       $690.00
      Ann Marie Jezisek                        Paralegal              $210                85.0    $17,850.00
      TOTAL                                                                              436.5   $217,323.50

             8.       As noted in footnote one, 5.3 hours of Morris D. Weiss’ time were not billed,

  resulting in a total reduction in fees in the amount of $3,816.00.

             9.       Applicant has filed three prior Applications in this case:

                      a.     The first filed on March 7, 2022 [Doc. 349] (the “First Interim
                      Application”), requesting fees earned in the amount of $744,219.00 and
                      reimbursement of expenses incurred in the amount of $11,032.92, for a total of
                      $755,251.92, which was approved in full by the Court by an order entered April 1,
                      2022 [Doc. 392]. As of the filing of this Application, the Firm has received
                      $471,319.81 for the First Interim Application.

                      b.     The second filed on June 9, 2022 [Doc. 452] (the “Second Interim
                      Application”), requesting fees earned in the amount of $425,949.50 and
                      reimbursement of expenses incurred in the amount of $5,004.50, for a total of
                      $430,954.00, which was approved in full by the Court by an order entered July 8,
                      2022 [Doc. 480]. These amounts have not been received as of the filing of this
                      Application.

                      c.      The third filed on July 22, 2022 [Doc. 495] (the “Third Interim
                      Application”), requesting fees earned in the amount of $409,477.00 and
                      reimbursement of expenses incurred in the amount of $4,509.34, for a total of
                      $413,986.34, which was approved in full by the Court by an order entered
                      August 17, 2022 [Doc. 517]. These amounts have not been received as of the filing
                      of this Application.

             10.      The Trustee and his representatives have reviewed the invoices requesting fees and

  expenses and have approved the amounts requested herein.



  1
      5.3 hours of Morris D. Weiss’ time were not billed, resulting in a reduction in fees of $3,816.00.



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             11.      This Application covers the period from July 1, 2022 through September 30, 2022

  (the “Application Period”).2

             12.      The Compensation Support Exhibit and Reimbursement Support Exhibit required

  by Rule 2016(a)(2) and (3) of the Local Bankruptcy Rules is given in the form of detailed time

  entries and expenses for Waller, attached hereto as Exhibit B and C.

             13.      All receipts relating to outside or third-party expenses in excess of $100.00 will be

  made available upon request.

                     CARVE OUT AND USE OF CASH COLLATERAL FOR FEES

             14.      On June 27, 2022, the Court approved the Trustee’s settlement with Karen Smith,

  the estates’ largest secured creditor. The settlement agreement provides, among other things, for a

  $500,000 professional fee carve-out from the net proceeds received from the sale of the Smith

  estate’s Bosque County property. The $500,000 carve-out was shared pro rata amongst the

  Trustee’s professionals resulting in a partial payment of Waller’s fees approved to date. The

  settlement agreement further provides for an additional professional fee carve-out in the amount

  of $1,500,000 from net proceeds to be received from the monetization of the Oklahoma property

  or the Solar Property.

             15.      A summary of Waller’s fees and expenses paid to date is provided below:

          Application                  Hearing Date                Amount                  Amount             Amount
                                                                  Requested               Approved           Received to
                                                                                          by Court              Date
First Interim filed 3/7/22            No objections;
                                                                 $755,251.92             $755,251.92         $471,319.81
[Doc. 349]                            no hearing held
Second Interim filed 6/9/22           No objections;
                                                                 $430,954.00             $430,954.00            $0.00
[Doc. 452]                            no hearing held
Third Interim filed 7/22/22           No objections;
                                                                 $413,986.34             $413,986.34            $0.00
[Doc. 495]                            no hearing held


  2
      The Application does not request approval of fees or expenses incurred after that date at this time.



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                                              CASE STATUS

           16.       This Application constitutes Waller’s fourth fee application for services rendered

  in the Chapter 11 Cases from July 1, 2022 through September 30, 2022. During this quarter, the

  Trustee, with the assistance of Waller, has worked diligently to monetize the estates’ assets,

  reconcile and settle claims, and continue to lay the groundwork necessary to achieve a successful

  completion of the Chapter 11 Cases.

           17.       During the Application Period, the Trustee achieved several key accomplishments,

  including, among others, (i) obtaining court approval of the sale of the estate’s 439 acre parcel in

  McIntosh, County, Texas, (ii) successfully negotiating and obtaining court approval of a

  settlement with Stanley Wright, court-appointed receiver for Smith in the pre-petition divorce

  action, (iii) obtaining releases of lis pendens filed against the estates’ Oklahoma ranch, and

  (iv) obtaining court-approved consensual use of the estates’ cash collateral.

           18.       Claims. In addition to negotiating and obtaining approval of the Stanley Wright

  settlement, the Trustee and Waller continued negotiations with creditor and adjacent landowner

  Handprint Valley Ranch to resolve prepetition litigation and related lis pendens encumbering the

  estates’ Oklahoma property. Conversations with Handprint Valley Ranch and lienholders on the

  Oklahoma ranch continued throughout the Application Period and ultimately resulted in a final

  settlement agreement, the approval of which is currently pending court approval and will be further

  detailed in Waller’s fee application for the next period.

           19.       Asset Sales. Waller assisted the Trustee with obtaining court approval of the sale

  of the estates’ 439 acres of real property located in McIntosh County, Oklahoma. Waller worked

  collaboratively with the Trustee’s retained brokers to obtain a topping bid for the property in excess

  of the court approved stalking horse bid.




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           20.       The Trustee and Waller continue to have periodic meetings with the retained

  Oklahoma brokers to discuss sale opportunities and market updates that might impact the

  monetization of the remaining acreage.

           21.       Title Work. The Trustee and Waller have continued to engage with the title

  company, local abstractors, Keith Reed (Mr. Smith’s business partner, who holds a 10% interest

  in many of Mr. Smith’s holdings), Ms. Smith, and the Debtors to resolve open title issues on the

  439-acre parcel and the Debtors’ remaining acreage in McIntosh County, Oklahoma. During the

  Application Period, Waller assisted the Trustee and retained local counsel with filing of quiet title

  suits and additional work necessary to close the approved 439-acre sale and best position the

  remainder of the Oklahoma property for a hopefully frictionless closing upon approval of a sale.

           22.       Furthermore, Waller has maintained an ongoing discussion with the tenant on the

  solar lease on the 1,200-acre parcel in Bosque County regarding the status of such project, as well

  as various monetization scenarios.

                                  SERVICES RENDERED BY APPLICANT

           23.       Waller’s detailed time entries for the Application Period, sorted by project

  category3, are attached hereto as Exhibit B.

           (a)       CB12 - Cash Collateral/Business Operations. This category includes time for

  dealing with cash collateral issues and other matters related to the operation of the Debtor’s

  business including the drafting and approval of a motion for consensual use of cash collateral and

  related budget. Waller has expended 2.9 hours, totaling fees in the amount of $1,255.50, in this

  category.


  3
    Every effort was made to allocate the appropriate work/phase code to particular tasks and to ensure that each
  timekeeper allocated their time consistently. However, there may be instances in which some time entries were
  included in one category although another timekeeper working on the same task may have billed their time to a
  different category.



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           (b)       CB13 - Case Administration. This category is the “catch-all” for coordination and

  compliance activities not covered in another category. Among other things, this category includes

  numerous coordination and compliance matters, and preparation of documents for the United

  States Trustee such as monthly operating reports. Waller has expended 36.8 hours, totaling fees in

  the amount of $21,160.00, in this category.

           (c)       CB14 - Claims and Other Contested Matters. This category includes the specific

  claim inquiries; analyses, objections and allowances of claims, as well as contested matters.

  Waller’s fees in this category include, among other things, time spent negotiating settlements with

  Stanley Wright and Handprint Valley Ranch. Waller has expended 154.2 hours, totaling fees in

  the amount of $72,233.00, in this category.

           (d)       CB15 - Fee and Employment Applications. This category includes work on

  preparations of employment and fee applications for certain of the Trustee’s professionals and

  related work. Waller has expended 16.3 hours, totaling fees in the amount of $6,670.00, in this

  category.

           (e)       CB16 - Plan and Disclosure Statement. This category includes work related to

  formulating and drafting a plan and disclosure statement. Waller has expended 10.0 hours, totaling

  fees in the amount of $4,003.00, in this category.

           (f)       CB18 - Meetings of and Communications with Creditors. This category includes

  addressing general creditor inquiries and meetings with creditors. Waller has expended 5.0 hours,

  totaling fees in the amount of $3,600.00, in this category.

           (g)       CB20 - Sale Process. This category includes time for issues relating to sale of the

  Debtors’ assets. This includes, among other things, time spent related to title work on the Debtors’

  Oklahoma property, meetings and strategy sessions with the Trustee’s retained brokers, and the




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  successful approval of the sale of the estates’ 439-acre Oklahoma parcel. Waller has expended

  211.3 hours, totaling fees in the amount of $108,402.00, in this category.

                                  EXPENSES INCURRED BY WALLER

           24.       Expenses are itemized on the attached Exhibit C and summarized by category on

  Exhibit D.

           25.       Waller has incurred $2,640.57 in reasonable and necessary expenses relating to its

  representation of the Trustee in this case. The bulk of the expenses relate to third-party printing

  and mailing services and court fees (including filing fees and recording fees). As stated above,

  copies of all receipts relating to outside or third-party expenses in excess of $100.00 will be made

  available upon request. Pursuant to the Retention Order and subject to Bankruptcy Court approval,

  Waller is entitled to reimbursement of actual and necessary expenses incurred in the rendition of

  its services to the Trustee. In explanation of certain expense categories, Waller states as follows:

           a.        Copying. Waller charges 20 cents per page for photocopying and 30 cents
                     per page for color photocopying. The charge is reasonable in view of the
                     fact that (i) the rate is the same rate charged by Waller to other clients, and
                     (ii) the clerk of this Court charges 50 cents per page, not including
                     certification, for copies.

           b.        Computer Research. Charges for use of Westlaw and other on-line research
                     tools are charged only to clients whose situation require the use of such
                     tools, thus reducing costs to the clients as much as possible. Those on-line
                     services are invaluable for up-to-date research, allowing rapid access to
                     numerous resources that might otherwise be difficult to obtain. The charges
                     to clients is the same as that charged to Waller by the provider of the
                     services.

           c.        Delivery Services. On occasion, overnight or hand-delivery of documents
                     and other materials is required to expedite receipt of critical documents or
                     information. Since many clients do not require such expedited service,
                     Waller bills such services directly to the client needing them, instead of
                     including the services as a component of hourly rates. Waller charges the
                     client the cost of such service. There is no charge when an employee of
                     Waller hand delivers packages; a procedure which is employed whenever
                     possible.



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            26.      Waller has made every effort to minimize its disbursements in this case. The

  expenses incurred in the rendition of professional services are necessary, reasonable and justified

  under the circumstances to serve the needs of the Trustee, the Debtors’ estates and creditors.

                                          LEGAL STANDARDS

            27.      Pursuant to section 330 of the Bankruptcy Code, this Court may award to

  professional persons employed under section 327 reasonable compensation for actual, necessary

  services rendered and reimbursement for actual, necessary expenses incurred.

            28.      The Fifth Circuit has “made clear that the lodestar, Johnson factors, and § 330 [of

  the Bankruptcy Code] coalesce[ ] to form the framework that regulates the compensation of

  professionals employed by the bankruptcy estate.” In re Pilgrim’s Pride, 690 F.3d 650, 656 (5th

  Cir. 2012).

            29.      “Under this framework, bankruptcy courts must first calculate the amount of the

  lodestar.” Id. To apply the lodestar approach, the Court determines a reasonable attorney fee in a

  case by multiplying the number of hours expended by an hourly rate. Pennsylvania v. Delaware

  Valley Citizens’ Counsel for Clean Air, 478 U.S. 456 (1987).

            30.      After calculating the lodestar, the Court “then may adjust the lodestar up or down

  based on the factors contained in § 330 and [its] consideration of the twelve factors listed in

  Johnson.” Pilgrim’s Pride, 690 F.3d at 656 (quoting In re Cahill, 428 F.3d 536, 540 (5th Cir.

  2005)).

            31.      Section 330 of the Bankruptcy Code instructs the Court to “tak[e] into account all

  relevant factors, including—

            a.       The time spent on such services;

            b.       The rates charged for such services;




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          c.        Whether the services were necessary to the administration of, or beneficial at the
                    time at which the service was rendered toward the completion of, a case under this
                    title;

          d.        Whether the services were performed within a reasonable amount of time
                    commensurate with the complexity, importance, and nature of the problem, issue,
                    or task addressed;

          e.        With respect to a professional person, whether the person is board certified or
                    otherwise has demonstrated skill and experience in the bankruptcy field; and

          f.        Whether the compensation is reasonable based on the customary compensation
                    charged by comparably skilled practitioners in cases other than cases under this
                    title.

 Pilgrim’s Pride, 690 F.3d at 655-56 (quoting 11 U.S.C. § 330(a)(3)).

          32.       The twelve Johnson factors include the time and labor required; the novelty and

 difficulty of the questions; the skill requisite to perform the legal service properly; the preclusion

 of other employment by the attorney due to acceptance of the case; the customary fee; whether the

 fee is fixed or contingent; time limitations imposed by the client or circumstances; the amount

 involved and the results obtained; the experience, reputation and ability of the attorneys; the

 undesirability of the case; the nature and length of the profession of relationship with the client;

 and awards in similar cases. See Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-

 19 (5th Cir. 1974).

          33.       Further, the Fifth Circuit has clarified that section 330 of the Bankruptcy Code

 “explicitly contemplates compensation for attorneys whose services were reasonable when

 rendered but which ultimately may fail to produce an actual, material benefit.” In re Woerner, 783

 F.3d 266, 274 (5th Cir. 2015). Accordingly, whether the services rendered were reasonable or

 necessary must be considered as of the time such services were rendered and not assessed post-

 hoc with the advantage of hindsight.




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          34.       Under each of the guidelines, Waller submits the fees requested herein are fair and

 reasonable.

                                   APPLICATION OF GUIDELINES

          35.       As required by the first step of the two-step analysis imposed by section 330(a)(1)

 analysis, all services rendered in this case by Waller were necessary and appropriate. The actions

 taken by Waller were essential to preserving the value of the assets for the estate, and in attempting

 to effect a reorganization for the benefit of all creditors.

          36.       Likewise with respect to the second step of the analysis, the compensation sought

 by Waller is competitive. Waller primarily committed the bankruptcy expertise of partner Morris

 D. Weiss, with assistance from partners Jimar A. Sanders, Courtney K. Stone and William R. Nix,

 and associates Hannah L. Berny and Kendria S. Lewis, among others, who, during the Application

 Period, worked closely with the Trustee to control fees and expenses related to these bankruptcy

 proceedings by working to resolve issues by agreement. Waller also extensively utilized non-

 billing personnel to provide the attorneys with support. Many services rendered by Waller’s non-

 billing personnel are regularly allowed as paralegal services in similar representations. Waller’s

 staffing decisions resulted in efficient case management. The issues in this bankruptcy case have

 been addressed promptly, properly and with no duplication.

          37.       Under the lodestar method, in aggregate, Waller rendered 436.5 hours of service at

 an overall blended hourly rate of $497.88. Waller has ensured tasks are properly delegated to junior

 attorneys when appropriate, and has worked collaboratively as a team to ensure time is spent

 efficiently and efforts are not duplicated.

          38.       The twelve Johnson factors also support approval of the fees requested in this case.




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                    a.       Time and Labor Required. Waller expended 436.5 hours to represent the

 Trustee in the Application Period. Applicant attempted to avoid overlap and layering of attorneys,

 and sought to assign matters to associates or to paralegal and other support staff where possible.

                    b.       Novelty and Difficulty of the Questions. Representation of the Trustee and

 the nature of this bankruptcy case involved attempting to navigate complex and fraught

 relationships among Smith, Ms. Smith, Mr. Reed, and the other parties in interest. Smith’s

 prepetition divorce, prepetition business dealings, and numerous pending lawsuits have resulted in

 mistrust amongst the parties and increased difficulty in reaching consensus.

                    c.       Skill Required. This case requires a high amount of skill because of the

 contentious nature of the Debtors, tendency for mistrust and miscommunication amongst the

 parties, and the complex claims derived from liabilities and transfers incurred and undertaken

 through the divorce proceeding and numerous real property related issues.

                    d.       Preclusion of Other Employment.      This representation has not caused

 significant dislocation or preclusion of other employment by Waller.

                    e.       Customary Fee. If this case were not one under the Bankruptcy Code,

 Waller would charge the Trustee, and expect to receive on a current basis, an amount at least equal

 to the amounts herein requested for the professional services rendered. Waller represents and

 would demonstrate that the fees are competitive for this region and customary for the degree of

 skill and expertise required in the representation of the Trustee by other experienced bankruptcy

 practitioners and other professionals in this district.

                    f.       Fixed or Contingent Fee. Waller accepted this representation on an hourly

 basis approved by the Bankruptcy Court. Collection of all amounts are, by their nature, contingent

 on the ability of the Trustee to pay.




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                    g.       Time Limitations. Time limitation was not a significant factor.

                    h.       Amounts and Results.     Waller assisted the Trustee in obtaining court

 approval of the sale of the estates’ 439-acre parcel, and in successfully negotiating settlements

 with key creditors.

                    i.       Experience, Reputation and Ability. Mr. Weiss is highly experienced in

 creditors’ rights and debtor protection work, and has been actively involved in many bankruptcy

 cases in the Western District of Texas and elsewhere. The attorneys at Waller enjoy a reputation

 as providing quality legal services without inefficiencies and duplications which occasionally

 occur in representations by larger, full service firms.

                    j.       Undesirability of the Case. There are no particular undesirable features of

 this case.

                    k.       Relationship with Client. Prior to the retention of Waller by the Trustee,

 Waller (or its attorneys while employed by another firm) had represented Mr. Milligan, Harney

 and/or other partners in Harney in other matters unrelated to these Debtors, or had otherwise been

 involved in cases in which Mr. Milligan, Harney or other partners in Harney were employed in

 other matters unrelated to these Debtors. The Trustee chose Waller because of its reputation in

 matters of this type.

                    l.       Awards in Similar Cases. The compensation sought by Waller is this case

 is the commensurate rates sought by professionals in other cases in this district.




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                                          CONCLUSION

          For the foregoing reasons, Waller requests approval of the fees and expenses as set forth

 above.

 DATED:             November 4, 2022
                    Austin, Texas

                                               Respectfully submitted,

                                               WALLER LANSDEN DORTCH & DAVIS, LLP

                                               By: /s/ Morris D. Weiss
                                                  Morris D. Weiss
                                                  Texas Bar No. 21110850
                                                  Courtney K. Stone
                                                  Texas Bar No. 24093208
                                                  100 Congress Ave., Suite 1800
                                                  Austin, Texas 78701
                                                  Telephone: (512) 685-6400
                                                  Facsimile: (512) 685-6417
                                                  Email:      morris.weiss@wallerlaw.com
                                                              courtney.stone@wallerlaw.com

                                               COUNSEL TO GREGORY S. MILLIGAN,
                                               CHAPTER 11 TRUSTEE


    CERTIFICATION PURSUANT TO UNIFORM RULES, EXHIBIT H, SECTION I.G

        I hereby certify that I have (1) read this Application; (2) to the best of my knowledge,
 information and belief, the compensation and expense reimbursement sought is in conformity with
 the Guidelines for Compensation and Expense Reimbursement for Professionals, except as may
 be specifically noted in the Application; and (3) the compensation and expense reimbursement
 requested are billed at rates, in accordance with practices, no less favorable than those customarily
 employed by the Applicant and generally accepted by the Applicant’s clients.


                                               By: /s/ Morris D. Weiss
                                               Morris D. Weiss




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                                 CERTIFICATE OF SERVICE

          I hereby certify that the above and foregoing Application has been served by the Court’s
 ECF e-filing notification on all parties on the attached service list on November 4, 2022. The Fee
 Application Summary, attached hereto as Exhibit A, has been served on all parties on the service
 list attached thereto as specified in its Certificate of Service.


                                              /s/ Morris D. Weiss
                                              Morris D. Weiss




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                                 SERVICE LIST - ECF PARTIES ONLY

 Debtors (via email)
 Daryl Greg Smith                                Steve Stasio
 Canadian River Ranch, LLC                       Stasio & Stasio, P.C.
 5826 Cooksey Lane                               303 Main Street, Suite 302
 Waco, TX 76706                                  Fort Worth, Texas 76102
 Dsmith1114@gmail.com
                                                 Marc W. Taubenfeld
 United States Trustee                           McGuire, Craddock & Strother, P.C.
 Gary W. Wright & Shane P. Tobin                 500 N. Akard Street, Suite 2200
 Office of the United States Trustee             Dallas, TX 75201
 903 San Jacinto Blvd., Room 230
 Austin, TX 78701                                David G. Tekell
                                                 Tekell & Tekell, LLP
                                                 400 Austin Avenue, Suite 1000
 Chapter 11 Trustee
                                                 Waco, TX 76701
 Gregory S. Milligan
 3800 N. Lamar Blvd., Suite 200
 Austin, Texas 78756                             Ruben Rene Escobedo
                                                 6800 Park Ten Blvd.
                                                 Suite 135-E
 Parties Requesting Service
                                                 San Antonio, TX 78213
 Eboney Cobb
 Perdue, Brandon, Fielder, Collins & Mott
                                                 J. Michael McBride, Esq.
 500 E. Border Street, Suite 640
 Arlington, TX 76010                             J. Michael McBride, P.C.
                                                 6420 Southwest Blvd., Ste. 112
                                                 Fort Worth, TX 76109
 Mark Cochran
 c/o Mark B. French
                                                 Ray Battaglia
 1901 Central Drive, Ste. 704
 Bedford, TX 76021                               Law Offices of Ray Battaglia, PLLC
                                                 66 Granburg Circle
                                                 San Antonio, TX 78218
 Edwin Paul Keiffer
 Rochelle McCullough, LLP
                                                 William R. Davis, Jr.
 325 N. St. Paul Street, Suite 4500
                                                 David S. Gragg
 Dallas, Texas 75201
                                                 Langley & Banack, Inc.
 Jason M. Rudd and Scott Lawrence                745 E. Mulberry, Suite 700
                                                 San Antonio, TX 78212
 Wick Phillips Gould & Martin, LLP
 3131 McKinney Avenue, Suite 500
                                                 David Wise
 Dallas, TX 75204
                                                 Law Offices of David Wise
 Tara LeDay                                      P.O. Box 1102
                                                 Friendswood, TX 77549
 McCreary, Veselka, Bragg & Allen, P.C.
 P. O. Box 1269
 Round Rock, TX 78680

 Griffith, Jay & Michel, LLP
 c/o Mark J. Petrocchi
 2200 Forest Park Blvd.
 Fort Worth, TX 76110



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                                 UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION

 IN RE:                                              §   CHAPTER 11
                                                     §
 DARYL GREG SMITH and,                               §   CASE NO. 21-60162-RBK-11
 CANADIAN RIVER RANCH, LLC                           §   CASE NO. 21-60163-RBK-11
                                                     §   Jointly Administered Under
                                                     §   Case No. 21-60162-rbk
          Debtors.                                   §

  SUMMARY FOR FOURTH INTERIM FEE APPLICATION OF WALLER LANSDEN
       DORTCH & DAVIS LLP, COUNSEL TO CHAPTER 11 TRUSTEE,
     FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
            AND REIMBURSEMENT OF EXPENSES INCURRED

                    This pleading requests relief that may be adverse to your
                    interests.

                    If no timely response is filed within 21 days from the date of
                    service, the relief requested herein may be granted without a
                    hearing being held.

                    A timely filed response is necessary for a hearing to be held.

 TO THE HONORABLE RONALD B. KING,
 UNITED STATES BANKRUPTCY JUDGE:

          The Firm of Waller Lansden Dortch & Davis LLP (“Waller” or “Applicant”), counsel to

 Gregory S. Milligan (the “Trustee”), chapter 11 trustee in the above-captioned bankruptcy cases,

 submits its Summary for its Fourth Interim Application for Allowance of Compensation for

 Services Rendered and Reimbursement for Expenses Incurred (“Application”). The following is

 a summary of the information detailed in the Application.

          A.        Client. Gregory S. Milligan, Chapter 11 Trustee to the Debtors in these cases.

          B.        Requesting Applicant/Firm. Waller is the Trustee’s counsel in the bankruptcy
                    cases.




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            C.       Total Amount of Fees and Expenses Requested:

                     Fees: $217,323.50

                     Expenses: $2,640.57

            D.       Pre-Petition Retainer:

                     None.

            E.       Application Period

                     July 1, 2022 through September 30, 2022

            F.       Timekeepers billing time to this representation are:

     PROFESSIONAL/                             TITLE               HOURLY            TOTAL      TOTAL
     PARAPROFESSIONAL                                               RATE             HOURS    FEES BILLED
     Morris D. Weiss1                          Partner               $720              135.00    $93,384.00
     Jimar A. Sanders                          Partner               $560                12.6     $7,056.00
     Courtney K. Stone                         Partner               $505               153.7    $77,618.50
     William R. Nix                            Partner               $505                25.6    $12,928.00
     Hannah L. Berny                          Associate              $345                22.6     $7,797.00
     Kendria S. Lewis                         Associate              $345                 2.0       $690.00
     Ann Marie Jezisek                        Paralegal              $210                85.0    $17,850.00
     TOTAL                                                                              436.5   $217,323.50

            G.       Minimum Fee Increments: Waller bills time in tenth of hours.

            H.       Expenses: Waller is requesting $2,640.57 in expenses. Waller charges 20 cents
                     per page for photocopying; 30 cents per page for color photocopying; and actual
                     charges (no premium) for services provided by third parties.

            I.       Amount Allocated for Preparation of this Fee Application: Waller has not
                     requested fees incurred in drafting this Application.




 1
     5.3 hours of Morris D. Weiss’ time were not billed, resulting in a reduction in fees of $3,816.00.


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           J.        Prior Applications.

        Application                  Hearing Date           Amount             Amount          Amount
                                                           Requested          Authorized       Received
                                                                                                to Date
First Interim filed 3/7/22         No objections;
                                                          $755,251.92         $755,251.92     $471,319.81
[Doc. 349]                         no hearing held
Second Interim filed 6/9/22        No objections;
                                                          $430,954.00         $430,954.00        $0.00
[Doc. 452]                         no hearing held
Third Interim filed 7/22/22        No objections;
                                                          $413,986.34         $413,986.34        $0.00
[Doc. 495]                         no hearing held

           K.        Other Co-equal or Administrative Claimants in this Case:

                     a.       Munsch Hardt Kopf & Harr, P.C., counsel to the Debtors

                     b.       Gregory S. Milligan, Chapter 11 Trustee

                     c.       HMP Advisory Holdings, LLC d/b/a Harney Partners, financial advisors
                              to the Trustee

                     d.       Weaver and Tidwell, L.L.P., as accountant and tax return preparer for the
                              Trustee

                     e.       Keen-Summit Capital Partners LLC, as real estate broker for the Trustee

                     f.       Land Doctors, Inc., as real estate broker for the Trustee

                     g.       Riley-McLean Land, LLC, as real estate broker for the Trustee

                     h.       O’Connell Law, PLLC, as special counsel to the Trustee

                     i.       Sheppard, Mullin, Richter & Hampton, LLP, as special counsel to the
                              Trustee

                     j.       Cadenhead Law Firm, P.C., as special counsel to the Trustee

  Allowance of Waller’s Application will not result in the Debtor’s estate not being able to pay all
  co-equal or superior administrative claims in this case.

           L.        Result Obtained. As detailed in the application, Waller assisted the Trustee in
                     laying the necessary groundwork to protect and monetize the estates’ assets and
                     successfully complete these chapter 11 cases. Waller performed services in the
                     following categories during the Application Period:

                     1.       CB12 - Cash Collateral/Business Operations. This category includes time
                              for dealing with cash collateral issues and other matters related to the


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                             operation of the Debtor’s business including the drafting and approval of a
                             motion for consensual use of cash collateral and related budget. Waller has
                             expended 2.9 hours, totaling fees in the amount of $1,255.50, in this
                             category.

                    2.       CB13 - Case Administration. This category is the “catch-all” for
                             coordination and compliance activities not covered in another category.
                             Among other things, this category includes numerous coordination and
                             compliance matters, and preparation of documents for the United States
                             Trustee such as monthly operating reports. Waller has expended 36.8
                             hours, totaling fees in the amount of $21,160.00, in this category.

                    3.       CB14 - Claims and Other Contested Matters. This category includes the
                             specific claim inquiries; analyses, objections and allowances of claims, as
                             well as contested matters. Waller’s fees in this category include, among
                             other things, time spent negotiating settlements with Stanley Wright and
                             the Handprint Valley Ranch. This category further includes contested
                             matters. Waller has expended 154.2 hours, totaling fees in the amount of
                             $72,233.00, in this category.

                    4.       CB15 - Fee and Employment Applications. This category includes work
                             on preparations of employment and fee applications for certain of the
                             Trustee’s professionals and related work. Waller has expended 16.3 hours,
                             totaling fees in the amount of $6,670.00, in this category.

                    5.       CB16 - Plan and Disclosure Statement. This category includes work
                             related to formulating and drafting a plan and disclosure statement. Waller
                             has expended 10.0 hours, totaling fees in the amount of $4,003.00, in this
                             category.

                    6.       CB18 - Meetings of and Communications with Creditors. This category
                             includes addressing general creditor inquiries and meetings with creditors.
                             Waller has expended 5.0 hours, totaling fees in the amount of $3,600.00,
                             in this category.

                    7.       CB20 - Sale Process. This category includes time for issues relating to
                             sale of the Debtors’ assets. This includes, among other things, time spent
                             related to title work on the Debtors’ Oklahoma property, meetings and
                             strategy sessions with the Trustee’s retained brokers, and the successful
                             approval of the sale of the estates’ 439-acre parcel in McIntosh County.
                             Waller has expended 211.3 hours, totaling fees in the amount of
                             $108,402.00, in this category.




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 DATED:             November 4, 2022
                    Austin, Texas

                                            Respectfully submitted,

                                            WALLER LANSDEN DORTCH & DAVIS, LLP

                                            By: /s/ Morris D. Weiss
                                               Morris D. Weiss
                                               Texas Bar No. 21110850
                                               Courtney K. Stone
                                               Texas Bar No. 24093208
                                               100 Congress Ave., Suite 1800
                                               Austin, Texas 78701
                                               Telephone: (512) 685-6400
                                               Facsimile: (512) 685-6417
                                               Email:      morris.weiss@wallerlaw.com
                                                           courtney.stone@wallerlaw.com

                                            COUNSEL TO GREGORY S. MILLIGAN,
                                            CHAPTER 11 TRUSTEE

                                  CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing document has been served upon all parties
 on the attached Service List either electronically (as an exhibit to the Application) on those
 parties receiving the Court’s ECF service or by United States mail and/or email on November 4,
 2022.

                                             /s/ Morris D. Weiss
                                            Morris D. Weiss




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                                       LIMITED SERVICE LIST

 Debtors (via mail and email)                      Boomer State Outdoors, LLC
 Daryl Greg Smith                                  12384 West 81st Street South
 Canadian River Ranch, LLC                         Sapulpa, OK 74066-8141
 5826 Cooksey Lane
 Waco, TX 76706                                    Catherine Aileen Smith
 Dsmith1114@gmail.com                              5826 Cooksey Lane
                                                   Waco, TX 76706
 Former Counsel to Debtors (via ECF)
 Thomas Daniel Berghman                            Central TX Radiological Associates, PA
 Davor Rukavina                                    3206 4th Street
                                                   Longview, TX 75695
 Munsch Hardt Kopf & Harr, P.C.
 500 N. Akard St., Ste. 3800
                                                   City of Fort Worth
 Dallas, TX 75201
                                                   10000 Throckmorton Street
                                                   Fort Worth, TX 76102
 United States Trustee (via ECF)
 Gary W. Wright & Shane P. Tobin                   Discover Bank
 Office of the United States Trustee               P. O. Box 385908
 903 San Jacinto Blvd., Room 230                   Minneapolis, MN 55438-5908
 Austin, TX 78701
                                                   Dolcefino Consulting
 Chapter 11 Trustee (via ECF)                      3701 Kirby Dr., Suite 560
 Gregory S. Milligan                               Houston, TX 77098
 3800 N. Lamar Blvd., Suite 200
 Austin, Texas 78756                               Griffith, Jay & Michel
                                                   2200 Forest Park Blvd.
 Secured Creditors                                 Ft. Worth, TX 76110
 Farm Credit of Western Oklahoma
 513 S. Mission St.                                Hanszen Laporte, LLP
 Anadarko, OK 73005                                14201 Memorial Drive
                                                   Houston, TX 77079
 Farm Credit Of Western Oklahoma, ACA
 Brian McEntire, VP/Branch Manager Tuttle          Hockley County Cattle Company, Inc.
 PO Box 790, 4955 Farm Credit Dr.                  P.O. Box 825
 Tuttle, OK 73089                                  Levelland, TX 79336

 Internal Revenue Service                          Jessica L. Brown, PLLC
 PO Box 7346                                       9450 SW Gemini Dr., #99088
 Philadelphia, PA 19101                            Beaverton, OR 97008-7105

 Karen Annette Smith                               Law Offices of Elizabeth Parmer
 700 Nettleton Dr.                                 309 W. 7th St., Ste 900
 Southlake, TX 76092                               Ft. Worth, TX 76102

 20 Largest Unsecured Creditors                    Lazy K Cattle Company, LLC
 (Combined)                                        2956 Via Esperanza
 Bank of America                                   Edmond, OK 73013
 Attn: Bankruptcy Department
 475 Cross Point Pkwy                              Lazy K. Cattle Company, LLC
 P. O. Box 9000                                    Dylan Charles Edward
 Getzville, NY 14068                               Rosell Law Group LLP
                                                   101 North Robinson Ave., Suite 700
                                                   Oklahoma City, OK 73102



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                                            Steve Stasio
 North Texas Tollway Authority              Stasio & Stasio, P.C.
 PO Box 660244                              303 Main Street, Suite 302
 Dallas, TX 75266                           Fort Worth, Texas 76102

 Providence Health Network                  Marc W. Taubenfeld
 Frost-Arnett Company                       McGuire, Craddock & Strother, P.C.
 PO Box 198988                              500 N. Akard Street, Suite 2200
 Nashville, TN 37219                        Dallas, TX 75201

 Stipe Law Firm                             David G. Tekell
 343 E Carl Albert Pkwy                     Tekell & Tekell, LLP
 Mcalester, OK 74501                        400 Austin Avenue, Suite 1000
                                            Waco, TX 76701
 Tekell & Tekell, LLP
 400 Austin Avenue, Suite 1000              Ruben Rene Escobedo
 Waco, TX 76701                             6800 Park Ten Blvd.
                                            Suite 135-E
 T-Mobile                                   San Antonio, TX 78213
 Credence Resource Management LLC
 17000 Dallas Pkwy., Ste 204                J. Michael McBride, Esq.
 Dallas, TX 75248                           J. Michael McBride, P.C.
                                            6420 Southwest Blvd., Ste. 112
 Parties Requesting Service                 Fort Worth, TX 76109
 (via ECF)
 Eboney Cobb                                Ray Battaglia
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 500 E. Border Street, Suite 640            66 Granburg Circle
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 Mark Cochran                               William R. Davis, Jr.
 c/o Mark B. French                         David S. Gragg
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 Bedford, TX 76021                          745 E. Mulberry, Suite 700
                                            San Antonio, TX 78212
 Edwin Paul Keiffer
 Rochelle McCullough, LLP                   David Wise
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 Dallas, Texas 75201                        P.O. Box 1102
                                            Friendswood, TX 77549
 Jason M. Rudd and Scott Lawrence
 Wick Phillips Gould & Martin, LLP
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 Dallas, TX 75204

 Tara LeDay
 McCreary, Veselka, Bragg & Allen, P.C.
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 Griffith, Jay & Michel, LLP
 c/o Mark J. Petrocchi
 2200 Forest Park Blvd.
 Fort Worth, TX 76110




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 Date               Name         Rate    Hours     Billed Amt Task Code Description
 7/1/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB12      Finalize and file notice of subsequent budget
7/17/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB12      Emails re: Colorado and use of cash collateral
                                                                        Emails with M. Weiss and G. Milligan re: cash collateral use for
7/18/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB12       Colorado taxes

7/23/2022 Stone, Courtney K.   $505.00       0.2    $101.00    CB12         Emails with G. Milligan re: cash collateral use for property taxes
7/23/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB12         Emails re: Colorado property taxes
7/23/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB12         Emails with G. Milligan re: request from D. Smith
7/25/2022 Stone, Courtney K.   $505.00       0.1     $50.50    CB12         Email S. Bass re: cash collateral use for property taxes
7/25/2022 Stone, Courtney K.   $505.00       0.1     $50.50    CB12         Email P. Keiffer re: cash collateral use for property taxes
7/26/2022 Stone, Courtney K.   $505.00       0.2    $101.00    CB12         Emails with S. Bass re: IRS consent for cash collateral use
                                                                            Emails from and to C. Stone re: IRS response to request to use cash
7/26/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB12           collateral
7/27/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB12           Email G. Milligan re: use of cash for U.S. Trustee fees
7/28/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB12           Draft notice of subsequent budget

7/28/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB12            Emails with E. White and A. Jezisek re: property tax totals for budget
7/28/2022 Stone, Courtney K.   $505.00       0.1     $50.50 CB12            Follow‐up emails with P. Keiffer re: property taxes

7/28/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB12           Coordinate drafting of updated cash collateral budget and notice
7/29/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB12           Revise and finalize notice of revised budget

7/29/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB12            Review cash collateral budget and notice and email A. Jezisek re: same
                                                                            Electronically file annual report for Canadian River Ranch LLC with
8/23/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB12           Oklahoma Secretary of State
                                                                            Review file‐marked annual report for Canadian River Ranch LLC, and
8/25/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB12           forward to G. Milligan
                                                                            TOTAL FOR TASK CODE CB12 ‐ CASH COLLATERAL/BUSINESS
                                             2.9   $1,255.50                OPERATION




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                                                              FEE DETAIL



 Date             Name           Rate    Hours     Billed Amt Task Code Description
 7/1/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB13      Email from and to G. Milligan re: K. Reed status
 7/1/2022 Weiss, Morris D.       $0.00       0.1        $0.00 CB13      Voicemail message for R. Escobedo (not billed)

 7/1/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB13          Telephone conference with A. Jezisek re: pending matters (not billed)
 7/1/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Review proposed mail to cattle tenant in Oklahoma
 7/1/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email to A. Jezisek re: status of pending matters
                                                                           Telephone conference with G. Milligan re: status of solar lease and
 7/1/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           related matters
 7/5/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Telephone conference with A. Jezisek re: pending matters

 7/5/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Telephone conference with C. Stone re: status of pending matters
                                                                           Obtain complete docket for bankruptcy case and email to T. Cole re:
 7/6/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00   CB13         same
 7/6/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB13         Call with M. Weiss re: pending projects
 7/6/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email to C. Stone re: pending matters
 7/6/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Telephone conference with A. Jezisek re: pending matters
                                                                           Receive updated title commitment on solar tract and forward same
 7/6/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB13          (not billed)
                                                                           Email to G. Milligan re: status of discussions with R. Escobedo and K.
 7/7/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Reed
 7/7/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email to G. Milligan re: Caddoa related topics
 7/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email from G. Milligan re: Caddoa dissolution
                                                                           Review plan of dissolution and LLC agreement and email to P. Hanley
 7/8/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           re: dissolution steps

 7/8/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           Further telephone conference with C. Stone re: status and next steps
 7/9/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email from and to G. Milligan re: Snell
                                                                           Telephone conference with A. Jezisek re: pending matters including
7/11/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13           fee application and upcoming deadlines
                                                                           Telephone conference with T. Nix re: pending matters including
7/11/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13           appeals

                                                                           Telephone conference with C. Stone re: sale of Oklahoma property,
7/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          status of Handprint Valley Ranch settlement and related matters
7/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email from G. Milligan re: cost of abstractors
7/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email to T. Beach re: payment to abstractors
                                                                           Review order extending briefing deadlines in appeal, and update case
7/12/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB13          calendar re: same
7/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Telephone conference with T. Nix re: status and deadline
                                                                           Telephone conference with E. White re: updated projections and
7/12/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           recoveries
                                                                           Review order extending Defendants' answer deadline in adversary
7/13/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB13          proceeding, and update case calendar re: same
                                                                           Telephone conference with G. Milligan re: status, pending matters and
7/13/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           next steps
                                                                           Email from and to E. White re: financial projections and updated
7/13/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13           model
                                                                           Further emails with E. White re: financial projections, anticipated
7/13/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13           timing for sales and related matters
7/13/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Review waterfall from K. Smith settlement
7/14/2022 Stone, Courtney K.   $505.00       0.1     $50.50 CB13           Call with M. Weiss re: pending projects
                                                                           Telephone conference with G. Milligan re: pending matters and
7/14/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           strategy
7/14/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email to G. Milligan re: Caddoa dissolution and wind up status
7/15/2022 Sanders, Jimar A.    $560.00         1    $560.00 CB13           Draft and edit form Affidavit of Marketability
                                                                           Email draft of the Affidavit of Marketability to C. Stone for review and
7/15/2022 Sanders, Jimar A.    $560.00       0.1      $56.00 CB13          comment

7/15/2022 Stone, Courtney K.   $505.00       0.3    $151.50 CB13           Review draft affidavit of marketability and email J. Sanders re: same
7/15/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Follow up emails re: hearing date
7/15/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Telephone conference with A. Jezisek re: pending matters
                                                                           Telephone conference with G.Milligan re: Colorado minerals and
7/15/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           related matters



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                                                              FEE DETAIL



 Date              Name         Rate     Hours     Billed Amt Task Code Description
                                                                        Telephone conference with C. Stone re: sale, time and pending
7/15/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB13       matters

7/16/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email to and from G. Milligan and E. White re: Oklahoma royalties

7/17/2022 Stone, Courtney K.   $505.00       0.3    $151.50 CB13           Review Colorado tax assessments and email G. Milligan re: same
7/18/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB13           Obtain docket sheet for main bankruptcy case for M. Weiss
                                                                           Review notice of hearing on motion for bid procedures re: sale of
                                                                           Oklahoma property, and calendar hearing date and related deadlines
7/18/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB13           re: same
7/18/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13           Emails re: Colorado taxes
                                                                           Email to A. Jezisek re: preparation of exhibit to monthly operating
7/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           report

7/18/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13           Further telephone conference with C. Stone re: pending matters

7/18/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           Telephone conference with C. Stone re: status and pending matters
                                                                           Email from and to G. Milligan re: request of D. Smith to pay for
7/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           transcript
7/19/2022 Jezisek, Ann Marie   $210.00       0.3     $63.00 CB13           Prepare exhibit for monthly operating report
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email from and to C. Stone re: schedule, timeline and order
                                                                           Email from and to G. Milligan re: reference in monthly operating
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           report to proceeds
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Telephone conference with A. Jezisek re: scheduling
                                                                           Email from and to G. Milligan re: finalizing and filing updated monthly
7/19/2022 Weiss, Morris D.       $0.00       0.1      $0.00 CB13           operating report (not billed)
7/20/2022 Jezisek, Ann Marie   $210.00       0.4     $84.00 CB13           Finalize and file monthly operating reports

7/20/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB13           Emails re: revised language for exhibit to monthly operating report
                                                                           Locate several documents requested by M. Weiss and forward to
7/20/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB13           various parties
7/20/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB13           Draft revised language for exhibit to monthly operating report

7/20/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB13           Call with M. Weiss re: pending projects and hearing preparation

7/20/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Emails re: monthly operating report and finalizing and filing same
                                                                           Email from A. Jezisek re: monthly operating report approval (not
7/20/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB13          billed)
                                                                           Telephone conference with C. Stone re: possible status conference
7/20/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           and related matters

7/20/2022 Weiss, Morris D.       $0.00       0.1      $0.00 CB13           Telephone conference with A. Jezisek re: filing of motions (not billed)
7/20/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13           Begin outlining possible status conference
                                                                           Continue outlining potential status conference topics and email to G.
7/20/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB13         Milligan, et al. for review
7/20/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email from and to G. Milligan re: status conference
7/21/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email from G. Milligan re: status conference
7/21/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Telephone conference with A. Jezisek re: filings
                                                                           Emails to P. Keiffer and C. Arisco re: canceling status conference in
7/21/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           adversary proceedings

7/21/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email to P. Keiffer re: status conference in main case for July 26 date
                                                                           Email to D. Castleberry re: scheduling and status conference in
7/21/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           adversary and main case
7/21/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Emails to and from G. Milligan re: request from D. Smith

7/23/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Emails from and to G. Milligan re: hearing scheduled for August 10
                                                                           Email to and from G. Milligan re: upcoming status conference hearing
7/23/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           and preparation for same
                                                                           Review docket entry re: reset hearing in turnover adversary, and
7/25/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB13           update case calendar re: same
7/25/2022 Stone, Courtney K.   $505.00       0.3    $151.50 CB13           Calls with M. Weiss re: status conference preparation
7/25/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email to and from P. Hanley re: Caddoa issues



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7/25/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email to C. Stone re: status conference and preparation for same
                                                                           Email to and from A. Jezisek re: current K. Reed settlement agreement
7/25/2022 Weiss, Morris D.       $0.00       0.1      $0.00 CB13           (not billed)
                                                                           Telephone conference with C. Stone re: follow up call with G. Milligan
7/25/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           and status conference topics

7/25/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email to B. Huffman with current draft of status conference update

7/25/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13           Emails with D. Castleberry re: reset hearing and follow up re: same
                                                                           Review, research and respond to email from M. Weiss re: D. Smith's
7/26/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB13           property in Hill County
7/26/2022 Jezisek, Ann Marie   $210.00       0.8    $168.00 CB13           Draft motion to abandon D. Smith's property in Hill County
                                                                           Additional research re: Hill County property per email from C. Stone
                                                                           re: comparable property for sale, and email to Trustee and attorneys
7/26/2022 Jezisek, Ann Marie   $210.00       0.5    $105.00 CB13           re: same
                                                                           Review and respond to email from M. Weiss re: anticipated date of
7/26/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB13           entry of order re: settlement with S. Wright

                                                                           Research re: property taxes due on Hill County property and potential
7/26/2022 Jezisek, Ann Marie   $210.00       0.5    $105.00 CB13           tax foreclosure, and email to Trustee and attorneys re: same
7/26/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB13           Call with M. Weiss re: Oklahoma deeds
7/26/2022 Stone, Courtney K.   $505.00       0.4    $202.00 CB13           Emails with G. Milligan and J. Sanders re: acreage ownership
                                                                           Emails with G. Milligan, M. Weiss, and A. Jezisek re: Hill County
7/26/2022 Stone, Courtney K.   $505.00       0.4    $202.00   CB13         property
7/26/2022 Weiss, Morris D.     $720.00       0.3    $216.00   CB13         Post hearing discussion with G. Milligan
7/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email to and from A. Jezisek re: property in Hill County, Texas
7/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email to T. Nix re: Caddoa
                                                                           Telephone conference with C. Stone re: hearing and Hill County
7/26/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB13         property
7/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Follow up emails re: property in Hill County
7/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email to and from A. Jezisek re: motion to abandon
7/26/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB13         Emails to and from G. Milligan re: remaining Caddoa tasks
7/26/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB13         Email from and to G. Milligan re: Caddoa dissolution
                                                                           Review, research and respond to email re: authority to pay U.S.
7/27/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB13           Trustee fees
                                                                           Email to K. Reed and R. Escobedo re: signature for release of lis
7/27/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB13           pendens
7/27/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email from and to T. Nix re: dissolution of Caddoa

7/27/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email to and from A. Jezisek re: K. Smith order and U.S. Trustee fees
                                                                           Email from and to G. Milligan re: U.S. Trustee fees and inclusion in K.
7/27/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Smith order
                                                                           Review order approving bid procedures, and calendar dates and
7/28/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00   CB13         deadlines re: same
 8/1/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email R. Wiggins with K. Reed document for recording
 8/2/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email to and from A. Jezisek re: pending matters
 8/2/2022 Weiss, Morris D.     $720.00       0.4    $288.00   CB13         Outline pending matters and email to G. Milligan re: same
 8/2/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Telephone conference with A. Jezisek re: status of project

 8/2/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Telephone conference with C. Stone re: project status and analysis
 8/3/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00   CB13         Obtain full docket sheet for M. Weiss
 8/3/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email from and to A. Jezisek re: docket sheet
 8/3/2022 Weiss, Morris D.     $720.00       0.9    $648.00   CB13         Zoom call with G. Milligan re: pending matters
 8/3/2022 Weiss, Morris D.     $720.00       0.3    $216.00   CB13         Telephone conference with C. Stone re: pending matters
 8/3/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Email to and from G. Milligan re: Hill County property
 8/3/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB13         Telephone conference with A. Jezisek re: pending matters
 8/4/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB13         Call with M. Weiss re: pending projects
 8/4/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB13         Telephone conference with C. Stone re: pending matters

 8/5/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13           Emails with D. Castleberry re: reset of hearing and time estimate
 8/5/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13           Email from and to D. Castleberry re: reset hearing
 8/5/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13           Telephone conference with G. Milligan re: pending matters



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                                                                        Telephone conference with G. Milligan re: follow up re: pending
 8/5/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB13      matters

 8/9/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13            Telephone conference and meet with A. Jezisek re: status of projects
 8/9/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13            Telephone conference with C. Stone re: pending matters
8/10/2022 Stone, Courtney K.   $505.00       0.1     $50.50 CB13            Call with M. Weiss re: pending projects
                                                                            Telephone conference with A. Jezisek re: uploading of orders (not
8/10/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB13           billed)

8/10/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13           Note entry of order by Judge Albright, review and send to G. Milligan
                                                                            Review recorded release of lis pendens, and distribute to various
8/12/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB13           parties
8/19/2022 Jezisek, Ann Marie   $210.00       0.4      $84.00 CB13           Prepare and file monthly operating reports
                                                                            Follow up telephone conference with G. Millilgan re: status of pending
8/19/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13            matters and K. Reed related matters (billed partial)
8/19/2022 Weiss, Morris D.       $0.00       0.1      $0.00 CB13            Emails with Court re: destruction of exhibits (not billed)
                                                                            Several emails from court re: exhibits and retention/destruction of
8/22/2022 Weiss, Morris D.     $720.00       0.1      $72.00   CB13         same
8/22/2022 Weiss, Morris D.     $720.00       0.1      $72.00   CB13         Telephone conference with A. Jezisek re: pending matters
8/22/2022 Weiss, Morris D.     $720.00       0.1      $72.00   CB13         Emails re: rescheduling broker call
8/23/2022 Stone, Courtney K.   $505.00       0.1      $50.50   CB13         Call with M. Weiss re: pending projects

8/25/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13           Follow up emails with G. Milligan re: communication with parties
                                                                            Email from and to G. Milligan re: proposed draft to D. Smith re: solar
8/25/2022 Weiss, Morris D.     $720.00       0.4    $288.00 CB13            lease
8/25/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13            Email from and to D. Rukavina re: fee application
8/25/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13            Email to client re: discussion with R. Escobedo
                                                                            Email from and to G. Milligan re: his mark up of proposed email to D.
8/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13            Smith
8/26/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13            Revise, finalize and send email to D. Smith re: solar update
8/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13            Email from D. Smith re: follow up
                                                                            Email from and to G. Milligan re: response to D. Smith, draft and
8/26/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB13            circulate
8/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13            Email from and to G. Milligan re: draft email to D. Smith
8/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13            Review and revise email to D. Smith and send same
8/29/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB13            Telephone conference with G. Milligan re: status and strategy
8/30/2022 Berny, Hannah L      $345.00       0.1     $34.50 CB13            Circulate dial in for Oklahoma land call
8/31/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB13            Email from D. Castleberry re: upcoming hearing ‐ remote/live
 9/1/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB13           Telephone conference with G. Milligan re: pending matters
 9/1/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB13           Email from and to court re: destroying exhibits (not billed)
 9/2/2022 Nix, William R.      $505.00       0.3     $151.50 CB13           Prepare email to M. Weiss re: outstanding issues

 9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13           Email to and from A. Jezisek re: testimony outlines from prior hearings
                                                                            Telephone conferences with A. Jezisek re: pending matters including
 9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13           witness/exhibit list

 9/5/2022 Stone, Courtney K.   $505.00       1.1     $555.50 CB13           Update pending projects list
 9/6/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB13           Discuss pending projects and next steps with H. Berny
 9/6/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13           Email to G. Milligan re: Caddoa return
9/12/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB13           Emails with R. Escobedo re: scheduling meeting with K. Reed
9/13/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13           Email from and to G. Milligan re: communication with D. Smith
                                                                            Outline issues for discussion re: Handprint Valley Ranch settlement
9/14/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB13           and sale of red/yellow parcels
                                                                            Email scheduling time for call with G. Milligan and Waller team (not
9/14/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB13           billed)
9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13           Email to P. Keiffer re: Lakeside Ranch property
9/14/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB13           Outline issues for discussion with C. Stone
                                                                            Telephone conference with C. Stone re: pending matters and
9/15/2022 Weiss, Morris D.     $720.00       0.8     $576.00 CB13           preparation for call with G. Milligan and J. Sanders
                                                                            Email from and to B. Korb re: additional properties transferred by D.
9/15/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13           Smith

9/15/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13           Email to and from G. Milligan, et al. re: information from B. Korb



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9/15/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email to and from A. Jezisek re: prior 1106 report and circulating same
                                                                           Telephone conference with C. Stone re: status of pending matters and
9/19/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB13          discussion with K. Reed, et al.
9/19/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email to C. Stone re: analysis from K. Smith divorce lawyers
9/20/2022 Jezisek, Ann Marie   $210.00       0.4      $84.00 CB13          Finalize and file monthly operating reports
                                                                           Telephone conference with C. Stone re: pending matters, discussion
9/20/2022 Weiss, Morris D.     $720.00       0.5     $360.00 CB13          with S. Lawrence and related matters
9/21/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Telephone conference with T. Nix re: pending matters
9/22/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email from and to G. Milligan re: Hill County property
9/23/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB13          Locate and email documents requested by M. Weiss
                                                                           Telephone conference with G. Milligan re: status, discussion with P.
9/23/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB13          Keiffer and related matters
9/23/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Telephone conference with T. Nix re: discussion with P. Keiffer
                                                                           Telephone conference with G. Milligan re: additional points discussed
9/23/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB13          with P. Keiffer and solar lease
                                                                           Review, research and respond to email from G. Milligan re: status
9/26/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB13          hearing in adversary proceeding
                                                                           Emails with G. Milligan and Waller team re: September 27 status
9/26/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB13          conference
9/26/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email to A. Jezisek re: continuance
9/26/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email to D. Castleberry re: continuance and reset date
                                                                           Emails re: status conference set for tomorrow and resetting same with
9/26/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB13          approval of client and consent of other counsel
                                                                           Review docket entry resetting status hearing in adversary proceeding,
9/27/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB13          and update case calendar re: same
9/27/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB13          Call with M. Weiss re: pending projects
9/27/2022 Weiss, Morris D.     $720.00       0.5     $360.00 CB13          Participate in status conference
9/27/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Telephone conference with T. Nix re: pending matters
9/27/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Emails re: Oklahoma counsel and asserted lien
9/27/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          Email summary of hearing to G. Milligan, C. Stone and T. Nix
                                                                           Telephone conference with C. Stone re: hearing outcome and related
9/27/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB13          matters
9/28/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB13          Call with M. Weiss re: pending projects
                                                                           Email to C. Stone re: Oklahoma mortgage and Handprint Valley Ranch
9/28/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB13          terms
9/28/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB13          Telephone conference with G. Milligan re: status and strategy

9/28/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB13          Further telephone conference with G. Milligan re: status (not billed)
                                                                           Telephone conference with C. Stone re: hearing, Handprint Valley
9/28/2022 Weiss, Morris D.     $720.00       0.3      $216.00 CB13         Ranch and related matters
9/30/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB13         Emails re: hunting lease
                                            36.8   $21,160.00              TOTAL FOR TASK CODE CB13 ‐ CASE ADMINISTRATION




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 7/1/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB14      Finalize and file motion to extend briefing deadline in appeal
                                                                        Revise motion to extend briefing deadlines consistent with D. Smith's
 7/1/2022 Nix, William R.      $505.00       0.3     $151.50 CB14       non‐objection to same
                                                                        Review report and recommendation of magistrate judge on motion
 7/1/2022 Nix, William R.      $505.00       0.2     $101.00 CB14       for stay pending appeal

 7/1/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email from and to T. Nix re: consent of D. Smith to extension of time
 7/1/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to C. Arisco re: status of settlement agreement
                                                                           Telephone conference with R. Escobedo re: K. Reed and possible
 7/1/2022 Weiss, Morris D.     $720.00       0.5    $360.00 CB14           settlement terms
 7/2/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14           Emails with G. Milligan, et al. re: discussion with R. Escobedo
 7/3/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB14           Emails with G. Milligan re: possible settlement with K. Reed

                                                                           Review report and recommendation of magistrate re: motion for stay
 7/5/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14          pending appeal, and calendar objection deadline re: same
                                                                           Email to C. Arisco with drafts of stipulations of dismissal of adversary
 7/6/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14          proceedings
                                                                           Review, research and respond to email from M. Weiss re: parties in
 7/6/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14          Colorado litigation
 7/6/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to C. Arisco re: settlement status
                                                                           Review stipulations in various adversary proceedings and email
 7/6/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14           comments and questions to A. Jezisek
                                                                           Email to C. Arisco re: proposed comment to settlement agreement and
 7/6/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          next steps
                                                                           Email from and to A. Jezisek re: procedural status of Colorado
 7/6/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          litigation
                                                                           Email from and to R. Escobedo re: discussions with K. Reed re: possible
 7/7/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          compromise

 7/7/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to G. Milligan re: status of discussion with counsel to S. Wright
                                                                           Electronically record two releases of abstracts of judgment filed by K.
 7/8/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14          Hibbs
                                                                           Finalize letters to county clerks re: releases of abstracts of judgment
 7/8/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB14          filed by K. Hibbs
                                                                           Email to G. Milligan re: email from C. Arisco re: status of S. Wright
 7/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          settlement
                                                                           Email from and to G. Milligan re: signing S. Wright settlement
 7/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          agreement
                                                                           Receive signed S. Wright agreement and send to C. Arisco for counter
 7/8/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14           signature
7/11/2022 Nix, William R.      $505.00       0.2    $101.00 CB14           Email to D. Wise re: status of settlement
7/11/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB14           Call with M. Taubenfeld re: Handprint Valley Ranch settlement
                                                                           Email G. Milligan re: revised Handprint settlement offer and proposed
7/11/2022 Stone, Courtney K.   $505.00       0.3    $151.50 CB14           next steps

7/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to P. Keiffer re: preparation of motion to extend answer date
                                                                           Email from and to P. Keiffer's office re: motion to extend time (not
7/11/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB14          billed)
                                                                           Email to R. Escobedo re: S. Wright settlement and need for
7/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          countersignature
                                                                           Review draft motion to extend re: turnover action and consent to
7/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          same
                                                                           Email from and to C. Arisco re: settlement agreement and extension of
7/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          answer date
7/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email from and to D. Wise re: status of case and exit
7/12/2022 Nix, William R.      $505.00       2.5   $1,262.50 CB14          Research re: vexatious litigant determination
                                                                           Email to M. Weiss and C. Stone re: research on vexatious litigant
7/12/2022 Nix, William R.      $505.00       0.8    $404.00 CB14           designation

7/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email from and to T. Nix re: extension of time for appellate briefing
                                                                           Email to and from R. Escobedo re: status of approval of S. Wright
7/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          settlement

7/13/2022 Jezisek, Ann Marie   $210.00       0.6    $126.00 CB14           Revise and finalize motion to approve settlement with S. Wright

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                                                                           Review, research and respond to email from T. Nix re: hearing on
7/13/2022 Jezisek, Ann Marie   $210.00       0.3     $63.00 CB14           motion to transfer venue and witness and exhibit list for same
7/13/2022 Nix, William R.      $505.00       1.2    $606.00 CB14           Research re: limits of chapter 11 plan injunction
                                                                           Email from K. Reed and J. Reed with signature pages and email to A.
7/13/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14           Jezisek re: same and filing
                                                                           Emails with D. Smith re: extension of time to object to report and
7/14/2022 Nix, William R.      $505.00       0.2    $101.00 CB14           recommendation of U.S. Magistrate
7/14/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14           Email from R. Escobedo re: status of discussions with K. Reed
7/14/2022 Weiss, Morris D.       $0.00       0.1      $0.00 CB14           Email to G. Milligan re: email from R. Escobedo (not billed)
                                                                           Email from and to T. Nix re: request for extension of time by D. Smith
7/14/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14           re: appeal
                                                                           Telephone conference with T. Nix re: request by D. Smith and related
7/14/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14           matters
7/14/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14           Email from S. Lawrence re: status

7/14/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14           Telephone conference with C. Stone re: Oklahoma and related matters
                                                                           Email from G. Milligan re: Oklahoma property, review Farm Credit
7/14/2022 Weiss, Morris D.     $720.00       0.4    $288.00 CB14           proof of claim and respond to same
7/15/2022 Nix, William R.      $505.00         1    $505.00 CB14           Continued research re: limits of plan injunction
                                                                           Emails with M. Taubenfeld re: status of title in connection with
7/15/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB14           Handprint settlement
                                                                           Emails with M. Taubenfeld and H. Berny re: Handprint Valley Ranch
7/15/2022 Stone, Courtney K.   $505.00       0.5    $252.50 CB14           title issues
                                                                           Review Handprint Valley Title items re: needed items for title
7/18/2022 Berny, Hannah L      $345.00       2.4    $828.00   CB14         commitments
7/18/2022 Nix, William R.      $505.00       0.2    $101.00   CB14         Confer with M. Weiss re: hearing in Oklahoma federal court
7/18/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB14         Call with H. Berny re: Handprint title issues
7/18/2022 Stone, Courtney K.   $505.00       0.3    $151.50   CB14         Calls with M. Weiss re: Farm Credit
7/18/2022 Stone, Courtney K.   $505.00       0.4    $202.00   CB14         Call with S. Lawrence re: Farm Credit collateral and case update
7/18/2022 Stone, Courtney K.   $505.00       0.3    $151.50   CB14         Review service and disclaimer letters re: Oklahoma quiet title

7/19/2022 Berny, Hannah L      $345.00       0.2     $69.00 CB14           Telephone call with C. Stone re: Handprint settlement title issues
                                                                           Emails to Trustee and K. Hibbs with recorded releases of abstracts of
7/19/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB14           judgment
7/19/2022 Stone, Courtney K.   $505.00       0.3    $151.50 CB14           Call and email with H. Berny re: Handprint title issues
                                                                           Emails with A. Jezisek, G. Milligan, and K. Reed re: execution of release
7/19/2022 Stone, Courtney K.   $505.00       0.6    $303.00 CB14           of lis pendens
                                                                           Review Farm Credit proof of claim and email S. Lawrence re: collateral
7/19/2022 Stone, Courtney K.   $505.00       0.4    $202.00 CB14           coverage

7/19/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB14           Email G. Milligan summary of call with S. Lawrence re: Farm Credit
7/19/2022 Stone, Courtney K.   $505.00       0.1     $50.50 CB14           Email J. Cadenhead re: status of quiet title

                                                                           Review entered order and email to C. Stone re: entry of Oklahoma
7/19/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14           order on release of lis pendens and next steps to finalize and record
7/20/2022 Berny, Hannah L      $345.00       0.6    $207.00 CB14           Review Handprint warranty deeds and compare to title policy
                                                                           Draft and file certificate of service of order transferring venue of Wise
7/20/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB14           adversary
7/20/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB14           Review and serve order transferring venue of Wise adversary
                                                                           Emails with K. Reed and A. Jezisek re: execution of release of lis
7/20/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB14           pendens
7/20/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB14           Email J. Sanders re: Handprint title issues
                                                                           Review documents and draft detailed email to title company re: title
7/20/2022 Stone, Courtney K.   $505.00       1.2    $606.00 CB14           issues in connection with Handprint settlement
                                                                           Prepare for upcoming hearing on motion to transfer in Oklahoma
7/20/2022 Weiss, Morris D.     $720.00       0.4    $288.00 CB14           bankruptcy court
7/20/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14           Attend hearing on motion to transfer
7/20/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14           Email to A. Jezisek following hearing and uploading order

                                                                           Note entry of transfer order, review D. Wise settlement agreement
7/20/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14           and timing for real party in interest and lis pendens motions
7/20/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14           Email to A. Jezisek re: notice period for S. Wright 9019 motion



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                                                                        Revise, finalize and file motion to substitute Trustee as real party in
7/21/2022 Jezisek, Ann Marie   $210.00       0.4       $84.00 CB14      interest in Wise adversary proceeding
                                                                        Revise, finalize and file motion to release lis pendens against Wise
7/21/2022 Jezisek, Ann Marie   $210.00       0.4       $84.00 CB14      parties

7/21/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB14           Emails with M. Taubenfeld re: status of Handprint settlement offer
7/21/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           Email to A. Jezisek re: Farm Credit proof of claim
                                                                            Telephone conference with A. Jezisek re: pleadings to implement
7/21/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           settlement with D. Wise
                                                                            Email to P. Keiffer re: adversary proceeding for transferred Oklahoma
7/21/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           matter
                                                                            Review order setting status conference and notice of hearing in Wise
7/22/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14           adversary, and calendar dates and deadlines re: same

                                                                            Review notice of hearing on motion for approval of release of lis
7/22/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14           pendens, and calendar hearing date and related deadlines re: same
                                                                            Review, research and respond to email from M. Weiss re: Oklahoma
7/22/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14           lawsuit to quiet title
                                                                            Review files to locate the survey for the 36 acres and email C. Stone
7/22/2022 Sanders, Jimar A.    $560.00       0.5    $280.00 CB14            the survey
                                                                            Emails with J. Sanders and title company re: legal descriptions and title
7/22/2022 Stone, Courtney K.   $505.00       0.4    $202.00   CB14          issues in connection with Handprint settlement
7/22/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB14          Email M. Weiss and A. Jezisek re: Oklahoma petition
7/22/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB14          Email from and to G. Milligan re: discussion with R. Escobedo
7/24/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB14          Emails with G. Milligan and J. Sanders re: lis pendens release
7/25/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00   CB14          Draft and file notice of reset hearing in adversary proceeding
                                                                            Email to relevant parties with amended exhibit list, additional exhibit
7/25/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14           and revised bid procedures order
                                                                            Email from and to G. Milligan re: updated outline for hearing, revise
7/25/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB14            and send same
                                                                            Telephone conference with C. Stone re: hearing preparation and
7/25/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB14            related matters
                                                                            Follow up Zoom call with G. Milligan re: preparation for status
7/25/2022 Weiss, Morris D.     $720.00       0.6    $432.00 CB14            conference and related matters
7/25/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14            Email to and from E. White re: K. Reed settlement economics
                                                                            Email to R. Escobedo with current draft of K. Reed settlement
7/25/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           agreement with spreadsheet/economics
7/25/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           Email to C. Stone and A. Jezisek re: redlined order and timeline
7/26/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14           Obtain docket sheet for Oklahoma quiet title suit
                                                                            Review files to confirm the legal description for the 120 acres to be
7/26/2022 Sanders, Jimar A.    $560.00       0.5    $280.00 CB14            conveyed in connection with the Handprint settlement
7/26/2022 Sanders, Jimar A.    $560.00       0.3    $168.00 CB14            Email C. Stone the legal description for the 120 acres
                                                                            Review email from C. Stone re: legal description for 120 acres involved
7/26/2022 Sanders, Jimar A.    $560.00       0.2    $112.00   CB14          in the Handprint settlement
7/26/2022 Stone, Courtney K.   $505.00       0.4    $202.00   CB14          Call and emails with M. Weiss re: lien priorities and IRS
7/26/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB14          Email J. Sanders re: Handprint draft deeds
7/26/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB14          Telephone conference with C. Stone re: upcoming hearing
7/26/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB14          Prepare for upcoming hearing
7/30/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB14          Emails with G. Milligan re: Farm Credit response status
                                                                            Draft letter to McIntosh County clerk re: recording release of lis
 8/1/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14           pendens
                                                                            Review, research and respond to email from T. Nix re: response to
 8/1/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14           objection to magistrate report
                                                                            Update case calendar re: response to objection to magistrate's report
 8/1/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14           and recommendation
                                                                            Emails with P. Keiffer re: response to D. Smith's objection to report
 8/1/2022 Nix, William R.      $505.00       0.2    $101.00   CB14          and recommendation
 8/1/2022 Stone, Courtney K.   $505.00       0.5    $252.50   CB14          Call with M. Weiss re: K. Reed issues
 8/1/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB14          Email A. Jezisek re: status of release of lis pendens
 8/1/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB14          Email G. Milligan re: status of discussions with Farm Credit
 8/1/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB14          Telephone conference with T. Nix re: briefing issues

 8/1/2022 Weiss, Morris D.     $720.00       0.9    $648.00 CB14            Telephone conference with C. Stone re: K. Reed settlement issues



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                                                                        Assemble D. Smith's exhibits from hearing on motion to stay pending
 8/2/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB14      appeal for T. Nix
                                                                        Prepare response to D. Smith's objections to report and
 8/2/2022 Nix, William R.      $505.00       6.5   $3,282.50 CB14       recommendation
 8/2/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB14       Call with S. Lawrence re: Farm Credit proposal
 8/2/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB14       Call with M. Weiss re: Farm Credit proposal
                                                                        Email G. Milligan summary of discussion with S. Lawrence re: Farm
 8/2/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB14       Credit
 8/2/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB14      Email to and from A. Jezisek re: deed and time allocation
 8/2/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB14      Email to and from A. Jezisek re: time and allocation issue
 8/2/2022 Weiss, Morris D.     $720.00       0.6     $432.00 CB14       Receive, review and revise draft response to D. Smith brief
                                                                        Review and revise response to objection to report and
 8/3/2022 Jezisek, Ann Marie   $210.00       0.5     $105.00 CB14       recommendation of magistrate judge
                                                                        Draft exhibit list for hearing on motion to release lis pendens re: Wise
 8/3/2022 Jezisek, Ann Marie   $210.00       0.3       $63.00 CB14      claimants
                                                                        Email draft exhibit list for hearing on motion to release lis pendens to
 8/3/2022 Jezisek, Ann Marie   $210.00       0.1       $21.00 CB14      Trustee

 8/3/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14           Begin preparing exhibits for hearing on motion to release lis pendens
                                                                            Revise response to D. Smith's objection to report and
 8/3/2022 Nix, William R.      $505.00       1.2    $606.00   CB14          recommendation
 8/3/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB14          Call with M. Weiss re: status of K. Reed settlement
 8/3/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB14          Email M. Taubenfeld re: Handprint update
 8/3/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB14          Email with T. Nix re: brief, filing and timing
 8/3/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB14          Emails re: appellate brief and filing of same
 8/4/2022 Jezisek, Ann Marie   $210.00         3    $630.00   CB14          Categorize fees incurred for calculation re: K. Reed settlement
                                                                            Call with M. Taubenfeld re: status of Oklahoma sale and Handprint
 8/4/2022 Stone, Courtney K.   $505.00       0.5    $252.50 CB14            settlement

 8/4/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB14           Emails with M. Weiss and A. Jezisek re: fees allocable to K. Reed
 8/4/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           Email from and to A. Jezisek re: analysis of fees
                                                                            Finalize and file exhibit list for hearing on motion seeking approval to
 8/5/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14           file release of lis pendens re: Wise claimants
                                                                            Email to court staff and attorneys with exhibit list and exhibits for
                                                                            hearing on motion seeking approval to file release of lis pendens re:
 8/5/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14           Wise claimants
                                                                            Prepare court copy of exhibits for hearing on motion seeking approval
 8/5/2022 Jezisek, Ann Marie   $210.00       0.3     $63.00 CB14            to file release of lis pendens re: Wise claimants
 8/8/2022 Berny, Hannah L      $345.00       0.3    $103.50 CB14            Telephone call with C. Stone re: K. Reed legal fees research
                                                                            Review docket entry resetting status hearing in turnover adversary,
 8/8/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14           and calendar new date re: same
                                                                            Continue categorizing fees incurred for calculation re: K. Reed
 8/8/2022 Jezisek, Ann Marie   $210.00       3.9    $819.00 CB14            settlement
 8/8/2022 Stone, Courtney K.   $505.00       0.4    $202.00 CB14            Call with H. Berny re: Reed fee sharing research
 8/8/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB14            Call with M. Weiss re: Reed strategy

 8/8/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14            Telephone conference with C. Stone re: status of analysis and research
                                                                            Conduct research re: ability to deduct attorney's fees from sale
 8/9/2022 Berny, Hannah L      $345.00       2.3    $793.50 CB14            proceeds of co‐owner
                                                                            Continue categorizing fees incurred for calculation re: K. Reed
 8/9/2022 Jezisek, Ann Marie   $210.00         1    $210.00 CB14            settlement
 8/9/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB14            Review order approving settlement with S. Wright
                                                                            Telephone conference with M. Weiss re: actions needed to finalize
 8/9/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14           settlement with S. Wright

 8/9/2022 Stone, Courtney K.   $505.00       0.5    $252.50 CB14            Review H. Berny research re: Reed cost splitting and emails re: same

 8/9/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14            Telephone conference with E. White re: status of K. Reed analysis

 8/9/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14            Further telephone conference with E. White re: status and next steps
8/10/2022 Berny, Hannah L      $345.00       0.2      $69.00 CB14           Email C. Stone re: impact of consent on attorney's fees
8/10/2022 Berny, Hannah L      $345.00       3.3   $1,138.50 CB14           Research re: ability to charge attorney's fees to co‐owner
                                                                            Conference call with C. Stone and M. Weiss re: attorney's fees
8/10/2022 Berny, Hannah L      $345.00       0.5    $172.50 CB14            research

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                                                                        Finalize and file stipulation of dismissal of Removed Colorado
8/10/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB14      adversary proceeding
                                                                        Finalize and file stipulation of dismissal of Removed Oklahoma
8/10/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB14      adversary proceeding
                                                                        Emails to D. Wise, G. Milligan and K. Reed re: execution of releases of
8/10/2022 Jezisek, Ann Marie   $210.00       0.3       $63.00 CB14      lis pendens re: Wise lawsuit
8/10/2022 Nix, William R.      $505.00       0.2     $101.00 CB14       Review order adopting report and recommendation
8/10/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB14       Call with H. Berny re: Reed fee sharing research
8/10/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB14       Call with H. Berny and M. Weiss re: Reed strategy
                                                                        Emails with T. Beach re: title cost estimates in connection with
8/10/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB14       Handprint settlement

8/10/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB14            Emails with T. Beach and M. Taubenfeld re: Handprint deed issues
8/10/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14            Prepare for hearing
8/10/2022 Weiss, Morris D.     $720.00       0.4    $288.00 CB14            Attend and participate in hearing
                                                                            Email to A. Jezisek re: granting of motions and circulating lis pendens
8/10/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           for approval

8/10/2022 Weiss, Morris D.     $720.00       0.5    $360.00 CB14            Telephone conference with C. Stone and H. Berny re: 365 issues
                                                                            Conference call with C. Stone and M. Weiss re: attorney's fees
8/11/2022 Berny, Hannah L      $345.00       0.6    $207.00 CB14            research
8/11/2022 Berny, Hannah L      $345.00       0.8    $276.00 CB14            Draft summary re: attorney's fees recovery approach
                                                                            Continue categorizing fees incurred for calculation re: K. Reed
8/11/2022 Jezisek, Ann Marie   $210.00       1.7    $357.00 CB14            settlement

8/11/2022 Stone, Courtney K.   $505.00       0.3    $151.50 CB14            Call with M. Weiss and H. Berny re: case cost allocation with Reed

8/11/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB14           Emails with Stewart Title re: title costs related to Handprint settlement
                                                                            Draft detailed email to G. Milligan re: status and strategies in
8/11/2022 Stone, Courtney K.   $505.00       0.7    $353.50 CB14            connection with Handprint settlement

8/11/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB14            Telephone conference with C. Stone and H. Berny re: 363 issues

                                                                            Review orders granting motion to substitute trustee as real party in
8/12/2022 Nix, William R.      $505.00       0.2    $101.00 CB14            interest and granting approval of release of lis pendens
8/12/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB14            Email to A. Jezisek re: document sent by K. Reed for recording
8/15/2022 Nix, William R.      $505.00       0.1     $50.50 CB14            Review email from D. Wise re: release of lis pendens
                                                                            Continue categorizing fees incurred for calculation re: K. Reed
8/16/2022 Jezisek, Ann Marie   $210.00       1.4    $294.00 CB14            settlement
                                                                            Email to and from A. Jezisek re: release of lis pendens status and email
8/16/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           to G. Milligan re: same
                                                                            Continue categorizing fees incurred for calculation re: K. Reed
8/17/2022 Jezisek, Ann Marie   $210.00       1.4    $294.00 CB14            settlement
                                                                            Obtain docket for Lazy K Cattle lawsuit, and review schedules and
8/17/2022 Jezisek, Ann Marie   $210.00       0.5    $105.00 CB14            claims register re: same

                                                                            Review status report filed by J. Brown in Oklahoma state court case
8/17/2022 Nix, William R.      $505.00       0.5    $252.50 CB14            and notice of attorney lien, and confer with M. Weiss re: same
                                                                            Research re: attorney lien statute in Oklahoma and effect of claiming
8/17/2022 Nix, William R.      $505.00       2.1   $1,060.50 CB14           such lien on a chapter 11 debtor
8/17/2022 Nix, William R.      $505.00       0.3    $151.50 CB14            Review pleadings in Lazy K state court case
                                                                            Emails re: motion to withdraw and status report in Lazy K Cattle case
8/17/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14            in Oklahoma
                                                                            Telephone conference with T. Nix re: Lazy K. Cattle suit and status
8/17/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14            along with solar lease update
8/17/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB14            Follow up emails to T. Nix re: Lazy K
8/18/2022 Jezisek, Ann Marie   $210.00       0.6    $126.00 CB14            Obtain copies of various pleadings in Lazy K Cattle lawsuit

8/18/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14           Draft letter to clerk re: releases of lis pendens re: Wise claimants
                                                                            Continue categorizing fees incurred for calculation re: K. Reed
8/18/2022 Jezisek, Ann Marie   $210.00       0.5    $105.00 CB14            settlement
                                                                            Continued research re: attorney lien statute in Oklahoma and effect of
8/18/2022 Nix, William R.      $505.00       0.5    $252.50 CB14            claiming such lien on a chapter 11 debtor



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 Date              Name         Rate     Hours       Billed Amt Task Code Description
                                                                          Prepare demand letter to J. Brown re: violation of automatic stay by
8/18/2022 Nix, William R.      $505.00       1.2       $606.00 CB14       filing of attorneys' lien
                                                                          Emails with M. Weiss re: options to deal with claims asserted by Lazy K
8/18/2022 Nix, William R.      $505.00       0.4       $202.00 CB14       in state court case
                                                                          Prepare letter to counsel for Lazy K re: dismissing debtors from state
8/18/2022 Nix, William R.      $505.00       1.2       $606.00 CB14       court case
                                                                          Prepare memo to M. Weiss and G. Milligan re: whether notice of
8/18/2022 Nix, William R.      $505.00           1     $505.00 CB14       attorney lien violates automatic stay
                                                                          Emails re: attorney lien asserted in Oklahoma lawsuit with T. Nix and
8/18/2022 Weiss, Morris D.     $720.00       0.2       $144.00 CB14       G. Milligan
                                                                          Continue categorizing fees incurred for calculation re: K. Reed
8/19/2022 Jezisek, Ann Marie   $210.00       1.5       $315.00 CB14       settlement
                                                                          Review, research and respond to emails from M. Weiss and T. Nix re:
8/19/2022 Jezisek, Ann Marie   $210.00       0.2         $42.00 CB14      Lazy K Cattle
8/19/2022 Nix, William R.      $505.00       0.6       $303.00 CB14       Revise letters to J. Brown and Lazy K
                                                                          Telephone conference with T. Nix re: Oklahoma litigation/stay
8/19/2022 Weiss, Morris D.     $720.00       0.3       $216.00 CB14       violation and related matters
8/19/2022 Weiss, Morris D.     $720.00       0.1         $72.00 CB14      Email to and from A. Jezisek re: fee allocation project
                                                                          Review updated draft letter from T. Nix and approve same to
8/19/2022 Weiss, Morris D.     $720.00       0.1         $72.00 CB14      defendant's counsel
                                                                          Review initial draft of letter to plaintiffs in Oklahoma litigation and
8/19/2022 Weiss, Morris D.     $720.00       0.2       $144.00 CB14       email to T. Nix re: same

                                                                             Review settlement agreement with Wise claimants and order
8/22/2022 Jezisek, Ann Marie   $210.00       0.1       $21.00 CB14           approving same for remaining tasks, and email to M. Weiss re: same
8/22/2022 Nix, William R.      $505.00       0.5      $252.50 CB14           Attention to revising letter to Lazy K and serving same
                                                                             Prepare and send correspondence to prior counsel re: claimed
8/22/2022 Nix, William R.      $505.00       0.4      $202.00 CB14           attorneys' lien
8/22/2022 Weiss, Morris D.     $720.00       0.3      $216.00 CB14           Telephone conferences with T. Nix re: Oklahoma litigation

8/22/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB14           Review and revise email to Oklahoma lawyer and send to T. Nix
8/22/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB14           Review and approve letter to counsel to Lazy K
                                                                             Continue categorizing fees incurred for calculation re: K. Reed
8/24/2022 Jezisek, Ann Marie   $210.00       3.1      $651.00   CB14         settlement
8/24/2022 Stone, Courtney K.   $505.00       0.1       $50.50   CB14         Emails with M. Weiss re: updated Fifth Circuit release holding
8/24/2022 Weiss, Morris D.     $720.00       0.2      $144.00   CB14         Review K. Smith settlement documents
8/25/2022 Berny, Hannah L      $345.00       1.3      $448.50   CB14         Draft demand letter re: cattle lease payments
                                                                             Emails with M. Weiss re: fee categorization, and update spreadsheet
8/25/2022 Jezisek, Ann Marie   $210.00       0.2        $42.00 CB14          re: same
                                                                             Continue categorizing fees incurred for calculation re: K. Reed
8/25/2022 Jezisek, Ann Marie   $210.00       1.1      $231.00 CB14           settlement
                                                                             Email to G. Milligan and E. White re: fee allocations for K. Reed
8/25/2022 Jezisek, Ann Marie   $210.00       0.1       $21.00 CB14           settlement
8/25/2022 Stone, Courtney K.   $505.00       0.2      $101.00 CB14           Call with M. Weiss re: Reed settlement
                                                                             Review Farm Credit delinquency letter and email with M. Weiss, G.
8/25/2022 Stone, Courtney K.   $505.00       0.8      $404.00 CB14           Milligan, and E. White re: same
8/25/2022 Stone, Courtney K.   $505.00       0.2      $101.00 CB14           Emails with H. Berny re: Hockley cattle lease demand
                                                                             Analyze lien priority and distribution related issues in connection with
8/25/2022 Stone, Courtney K.   $505.00         1      $505.00 CB14           sale of 439 and 120 acre parcels
8/25/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB14           Email to and from A. Jezisek re: fee allocation analysis
                                                                             Email from and to A. Jezisek re: fee allocation and initial comments to
8/25/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB14           same
                                                                             Email to A. Jezisek re: revisions to spreadsheet and circulating updated
8/25/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB14          version to client
                                                                             Further review and analyze lien priority issues and email M. Weiss and
8/26/2022 Stone, Courtney K.   $505.00       0.4      $202.00 CB14           E. White re: same
8/26/2022 Stone, Courtney K.   $505.00       0.1       $50.50 CB14           Email S. Lawrence re: Farm Credit letter
                                                                             Review, revise and distribute legal analysis re: cost sharing basis with
8/26/2022 Stone, Courtney K.   $505.00       0.8      $404.00 CB14           K. Reed to G. Milligan
                                                                             Telephone conference with D. Rukavina re: fee application and related
8/26/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB14           matters (billed partial)

8/26/2022 Weiss, Morris D.     $720.00       0.3      $216.00 CB14           Email from and to G. Milligan re: attorney's fee issues/Fifth Circuit
8/29/2022 Stone, Courtney K.   $505.00       0.1       $50.50 CB14           Call with M. Weiss re: Reed settlement status

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8/29/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14       Telephone conference with C. Stone re: sales process
                                                                        Email to various parties re: recorded releases of lis pendens re: Wise
8/30/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB14      lawsuit
8/30/2022 Nix, William R.      $505.00       0.2     $101.00 CB14       Review emails from D. Wise and M. Weiss re: status

8/30/2022 Stone, Courtney K.   $505.00       0.3    $151.50   CB14          Emails with M. Taubenfeld re: case updates and settlement status
8/30/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB14          Email to and from A. Jezisek re: Oklahoma lis pendens release
8/31/2022 Jezisek, Ann Marie   $210.00       0.3     $63.00   CB14          Revise and finalize stipulation of dismiss of Wise adversary
8/31/2022 Stone, Courtney K.   $505.00       0.3    $151.50   CB14          Calls with M. Taubenfeld re: Handprint settlement terms
8/31/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB14          Call with G. Milligan re: Farm Credit correspondence
8/31/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB14          Call with H. Berny re: lis pendens analysis

8/31/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB14           Email G. Milligan re: status of Handprint settlement and next steps
8/31/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB14           Receive email from S. Lawrence re: Farm Credit position

8/31/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB14           Emails with M. Weiss and G. Milligan re: Farm Credit correspondence
                                                                            Email from A. Jezisek re: removed/transferred Oklahoma adversary
8/31/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           and dismissal
8/31/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           Emails re: position of Farm Credit Bank
 9/1/2022 Stone, Courtney K.   $505.00       0.1       $50.50 CB14          Emails with S. Lawrence re: sale status

 9/2/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB14           Call with S. Lawrence re: Farm Credit claim and Handprint settlement
 9/2/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB14           Call with M. Weiss re: Farm Credit and Handprint
 9/2/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB14           Email S. Lawrence settlement proposal re: Handprint
                                                                            Email from and to E. White re: updated spreadsheet for potential
 9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           settlement with K. Reed
 9/6/2022 Berny, Hannah L      $345.00       0.5     $172.50 CB14           Draft adversary complaint re: Reed 1550 and 120 property
 9/6/2022 Berny, Hannah L      $345.00       0.5     $172.50 CB14           Meeting with C. Stone re: 363(h) proceeding
 9/6/2022 Berny, Hannah L      $345.00       0.6     $207.00 CB14           Conduct research re: objection to disputed claim
 9/6/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB14           Draft release of lis pendens filed by K. Smith
 9/6/2022 Nix, William R.      $505.00       0.2     $101.00 CB14           Confer with M. Weiss re: issues with claim of Lazy K Cattle
 9/6/2022 Nix, William R.      $505.00       0.3     $151.50 CB14           Prepare email to H. Berny re: research of issues re: Lazy K claim
 9/7/2022 Berny, Hannah L      $345.00       2.1     $724.50 CB14           Conduct research re: objection to disputed claim
 9/7/2022 Berny, Hannah L      $345.00       1.4     $483.00 CB14           Draft adversary complaint re: Reed 1550 and 120 property
 9/7/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB14           Review and revise complaint against Reeds
                                                                            Detailed emails with G. Milligan re: Reed settlement and 363(j)
 9/7/2022 Stone, Courtney K.   $505.00       1.1     $555.50 CB14           analysis
 9/7/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB14           Follow‐up with S. Lawrence re: Handprint
 9/7/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB14           Email M. Taubenfeld re: settlement

 9/7/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14           Review spreadsheet for K. Reed settlement and email to E. White

 9/8/2022 Berny, Hannah L      $345.00       0.2      $69.00 CB14           Email T. Nix re: research findings re: objection to disputed claim
 9/8/2022 Nix, William R.      $505.00       0.3     $151.50 CB14           Review research from H. Berny re: objections to unfiled claims
 9/8/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB14           Call with M. Taubenfeld re: Handprint and Boomer
 9/8/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB14           Calls with M. Weiss re: Handprint settlement and Farm Credit

 9/9/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14           Emails with C. Stone re: releases of lis pendens and judgment liens

 9/9/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB14           Emails with S. Lawrence re: Handprint lis pendens and next steps
9/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14           Email re: timing of potential settlement discussion
9/11/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14           Emails re: agricultural exemption

9/12/2022 Jezisek, Ann Marie   $210.00       0.5     $105.00 CB14           Review and revise letter to Bosque County Appraisal Review Board
9/12/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14           Obtain property tax information Lakeside Ranch properties
                                                                            Review information on Bosque County properties and update
9/12/2022 Jezisek, Ann Marie   $210.00       0.5     $105.00 CB14           spreadsheet re: same
9/12/2022 Stone, Courtney K.   $505.00       1.1     $555.50 CB14           Review, revise and circulate Handprint settlement agreement
9/12/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14           Review agricultural exemption information
                                                                            Telephone conference with J. Sanders re: agricultural exemption and
9/12/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB14           related issues
                                                                            Continue review of agricultural exemption and background
9/12/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB14           information



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                                                                        Telephone conference with C. Moser, Bosque County Chief Appraiser
9/12/2022 Weiss, Morris D.     $720.00       0.7      $504.00 CB14      re: penalty
9/12/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB14     Emails with G. Milligan re: K. Reed call
9/12/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB14      Telephone conferences with A. Jezisek re: Bosque County

9/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to G. Milligan re: discussion with Bosque County representative
9/12/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB14          Email to and from A. Jezisek re: G. Milligan address (not billed)
9/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to J. Sanders with update

9/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Follow up email to C. Moser re: information provided/submitted
                                                                           Telephone conference with G. Milligan re:discussion with Bosque
9/12/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB14          County representative and next steps

9/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Review spreadsheet prepared by A. Jezisek re: penalty amounts

9/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to G. Milligan with spreadsheet and amount in controversy
                                                                           Prepare initial draft of letter to appraisal review board for Bosque
9/12/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB14          County and send to A. Jezisek for review
                                                                           Follow up email to A. Jezisek with G. Milligan updated contact (not
9/12/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB14          billed)
9/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Telephone conference with A. Jezisek re: Bosque County
9/12/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to C. Moser (Bosque County) re: follow up
                                                                           Review and respond to email from G. Milligan re: requirements for
9/13/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB14          agricultural exemption
9/13/2022 Stone, Courtney K.   $505.00       0.7     $353.50 CB14          Call with M. Weiss re: Handprint settlement motion comments
9/13/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB14          Further call with M. Weiss re: Handprint settlement agreement
9/13/2022 Stone, Courtney K.   $505.00       0.7     $353.50 CB14          Review and revise Hockley demand letter
                                                                           Review proposed 9019 motion/settlement agreement with Handprint
9/13/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB14          Valley Ranch
                                                                           Email to C. Stone re: review of Handprint Valley Ranch materials (not
9/13/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB14          billed)
                                                                           Telephone conference with C. Stone re: Handprint Valley Ranch and
9/13/2022 Weiss, Morris D.     $720.00       0.6     $432.00 CB14          related matters

                                                                           Receive/initial review of G. Milligan revisions to letter to Bosque
9/13/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14          County Appraisal Review Board and follow up from A. Jezisek
9/13/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14          Review criteria for agricultural exemption in Bosque County
                                                                           Begin drafting rider for 9019 motion re: Handprint Valley Ranch re:
9/13/2022 Weiss, Morris D.     $720.00         1     $720.00 CB14          additional background facts and related matters
9/13/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB14          Finalize draft of rider and send to C. Stone

9/14/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14          Review and revise letter to Bosque County appraisal review board
9/14/2022 Stone, Courtney K.   $505.00       1.8     $909.00 CB14          Further revise and circulate 9019 motion re: Handprint
                                                                           Emails with M. Taubenfeld re: updated settlement motion and
9/14/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB14          pending items
                                                                           Emails with G. Milligan and M. Weiss re: status of Handprint
9/14/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB14          settlement, discussions with Farm Credit and related maps
                                                                           Email to and from C. Stone re: demands from Farm Credit to consent
9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          to Handprint Valley Ranch settlement
                                                                           Email from and to G. Milligan re: letter to Appraisal Review Board for
9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Bosque County
                                                                           Email to and from A. Jezisek re: current draft of letter to Appraisal
9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Review Board for Bosque County
                                                                           Several emails with G. Milligan re: pending topics and suggestion for a
9/14/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14          call
                                                                           Review and revise letter to Appraisal Review Board for Bosque County
9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          and send to A. Jezisek for finalization
                                                                           Follow up email from and to A. Jezisek finalizing letter to Appraisal
9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Review Board
                                                                           Emails from and to K. Hurt re: demonstrative for Handprint Valley
9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Ranch swap
9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to C. Stone and A. Jezisek re: updated demonstrative
                                                                           Prepare cover email to D. Smith re: upcoming hearing on waiver of
9/14/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14          penalty and send to G. Milligan for review

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                                                                          Email from C. Nicholson re: Lakeside property and forward to G.
9/14/2022 Weiss, Morris D.     $720.00       0.1          $72.00 CB14     Milligan and C. Stone
                                                                          Email to and from C. Stone re: demonstrative/map for Handprint
9/14/2022 Weiss, Morris D.     $720.00       0.1          $72.00 CB14     Valley Ranch settlement
9/15/2022 Stone, Courtney K.   $505.00       0.3        $151.50 CB14      Call with M. Weiss re: Handprint settlement motion
                                                                          Emails with J. Sanders re: Handprint settlement agreement and
9/15/2022 Stone, Courtney K.   $505.00       0.4        $202.00 CB14      related deeds
9/15/2022 Stone, Courtney K.   $505.00       0.2        $101.00 CB14      Emails with M. Taubenfeld re: status of settlement
                                                                          Receive and review G. Milligan revisions to D. Smith email and
9/15/2022 Weiss, Morris D.     $720.00       0.1          $72.00 CB14     respond to G. Milligan
                                                                          Email from and to G. Milligan re: Caddoa/Texas status, review form
9/15/2022 Weiss, Morris D.     $720.00       0.2        $144.00 CB14      and respond
                                                                          Follow up email from and to G. Milligan re: Bosque County property
9/15/2022 Weiss, Morris D.     $720.00       0.1          $72.00 CB14     taxes
9/15/2022 Weiss, Morris D.       $0.00       0.1           $0.00 CB14     Left message for C. Moser and email to G. Milligan (not billed)
                                                                          Revise the Warranty Deeds for the Handprint Valley Ranch settlement
9/16/2022 Sanders, Jimar A.    $560.00       1.2        $672.00 CB14      to incorporate clean‐up comments
                                                                          Email C. Stone the revised drafts of the Warranty Deeds for the
9/16/2022 Sanders, Jimar A.    $560.00       0.2        $112.00 CB14      Handprint Valley Ranch settlement for review and comment
                                                                          Emails with J. Sanders re: Farm Credit release and deeds for Handprint
9/16/2022 Stone, Courtney K.   $505.00       0.3        $151.50 CB14      settlement
                                                                          Review and analyze Handprint litigation materials including party
9/16/2022 Stone, Courtney K.   $505.00       1.9        $959.50 CB14      dismissals and lis pendens documentation
9/16/2022 Weiss, Morris D.     $720.00       0.1          $72.00 CB14     Review email from D. Smith re: Bosque County taxes
                                                                          Draft proposed reply to D. Smith, send to G. Milligan and receive
9/16/2022 Weiss, Morris D.     $720.00       0.2        $144.00 CB14      comments
9/16/2022 Weiss, Morris D.     $720.00       0.1          $72.00 CB14     Review and revise reply to D. Smith and send
                                                                          Email to and from G. Milligan re: conversation with R. Escobedo and
9/16/2022 Weiss, Morris D.     $720.00       0.1          $72.00 CB14     upcoming call with K. Reed
                                                                          Review, revise and distribute Handprint settlement agreement,
9/18/2022 Stone, Courtney K.   $505.00           5    $2,525.00 CB14      motion, and order and related exhibits
                                                                          Email from R. Escobedo re: questions re: K. Reed spreadsheet and
9/18/2022 Weiss, Morris D.     $720.00       0.2        $144.00 CB14      review same
                                                                          Telephone conference with R. Escobedo re: K. Reed spreadsheet and
9/18/2022 Weiss, Morris D.     $720.00       0.6        $432.00 CB14      upcoming call
9/18/2022 Weiss, Morris D.     $720.00       0.1          $72.00 CB14     Email to G. Milligan re: summarizing call with R. Escobedo
                                                                          Telephone conference with E. White re: K. Reed spreadsheet (not
9/18/2022 Weiss, Morris D.       $0.00       0.1           $0.00 CB14     billed)
                                                                          Telephone conference with G. Milligan re: discussion with R. Escobedo
9/18/2022 Weiss, Morris D.     $720.00       0.1          $72.00 CB14     in preparation for call tomorrow

9/19/2022 Stone, Courtney K.   $505.00       0.2       $101.00 CB14          Call with S. Lawrence re: Farm Credit consent to Handprint settlement
9/19/2022 Stone, Courtney K.   $505.00       0.2       $101.00 CB14          Call with M. Weiss re: potential contingent claims against trust
                                                                             Emails with G. Milligan and K. Hurt re: Farm Credit status re: Handprint
9/19/2022 Stone, Courtney K.   $505.00       0.3       $151.50 CB14          settlement

9/19/2022 Stone, Courtney K.   $505.00       0.2       $101.00 CB14          Emails with M. Taubenfeld re: status update on Handprint settlement
                                                                             Review materials in preparation for call with G. Milligan, R. Escobedo
9/19/2022 Weiss, Morris D.     $720.00       0.5       $360.00 CB14          and K. Reed
                                                                             Telephone conference with R. Escobedo re: open issues for upcoming
9/19/2022 Weiss, Morris D.     $720.00       0.3       $216.00 CB14          call
9/19/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB14          Email to G. Milligan and E. White re: Bosque County penalty
9/19/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB14          Email from and to C. Stone re: discussion with S. Lawrence

9/19/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB14          Telephone conference with G. Milligan re: call with R. Escobedo
                                                                             Zoom with G. Milligan, R. Escobedo and K. Reed re: possible
9/19/2022 Weiss, Morris D.     $720.00       0.8       $576.00 CB14          settlement terms/timing
9/19/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB14          Post call discussion with G. Milligan
9/20/2022 Jezisek, Ann Marie   $210.00       0.1        $21.00 CB14          Emails with C. Stone re: recording release of lis pendens

9/20/2022 Stone, Courtney K.   $505.00       0.8       $404.00 CB14          Call with S. Lawrence re: Farm Credit consent to Handprint settlement

9/20/2022 Stone, Courtney K.   $505.00       0.3       $151.50 CB14          Call with M. Weiss re: Farm Credit consent to Handprint settlement
9/20/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB14          Email from and to G. Milligan re: Bosque County penalty claim


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9/20/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB14          Telephone conference with T. Nix re: trust issue and potential claim
9/20/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB14          Forward emails to T. Nix re: trust (not billed)
                                                                           Review prior correspondence and draft email for appraiser for review
9/20/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14          by G. Milligan
                                                                           Email to and from G. Milligan re: approval to send email and send
9/20/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          same to C. Moser
9/22/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14          Telephone conference with T. Nix re: trust related issues
                                                                           Telephone conference with T. Nix re: discussion with P. Keiffer and
9/22/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          follow up
                                                                           Revisions to approval order, review orders from prior settlements,
                                                                           sale order and recent second circuit opinion, finalize review and send
9/23/2022 Weiss, Morris D.     $720.00       1.5   $1,080.00 CB14          to C. Stone and A. Jezisek
                                                                           Review redlined versions of motion/settlement agreement and order
9/23/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14          re: Handprint Valley Ranch settlement
                                                                           Email to courtroom deputy re: adjourning status hearing in adversary
9/26/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14          proceeding
9/26/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB14          Email M. Taubenfeld re: status of discussions with Farm Credit
                                                                           Extended email to S. Lawrence re: Farm Credit consent to Handprint
9/26/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB14          settlement
9/26/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB14          Email from and to C. Stone re: sales status (not billed)
                                                                           Draft letter to McIntosh County clerk re: recording release of notice of
9/27/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14          lis pendens
                                                                           Confer with M. Weiss re: attorneys' fee lien of J. Brown; email to G.
9/27/2022 Nix, William R.      $505.00       0.2     $101.00 CB14          Milligan re: same
                                                                           Emails with G. Milligan and C. Stone re: checking with title company
9/27/2022 Nix, William R.      $505.00       0.2     $101.00 CB14          re: notice of attorneys' lien filed by J. Brown
                                                                           Telephone conferences with T. Nix re: Oklahoma property and lien
9/27/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14          issues
9/28/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14          Search for UCC filings in Oklahoma on debtors
                                                                           Review and respond to email from M. Weiss re: UCC filings in
9/28/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14          Oklahoma and mortgage recorded by K. Smith
                                                                           Finalize letter to McIntosh County clerk re: recording release of notice
9/28/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14          of lis pendens
                                                                           Emails with M. Weiss and G. Milligan re: revised Handprint settlement
9/28/2022 Stone, Courtney K.   $505.00       2.3   $1,161.50 CB14          and anaylsis of same
                                                                           Emails re: Oklahoma and Handprint Valley Ranch settlement terms
9/28/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          with C. Stone
                                                                           Email to and from A. Jezisek re: K. Smith mortgage in Oklahoma (not
9/28/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB14          billed)
9/28/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB14          Receive and review Oklahoma mortgage
                                                                           Review, research and respond to email from M. Weiss re: settlement
9/29/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB14          with K. Smith
                                                                           Email J. Sanders re: title issues in connection with revised Handprint
9/29/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB14          agreement
                                                                           Emails with M. Weiss re: Reed settlement and impacts on cost
9/29/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB14          allocations
                                                                           Emails with M. Taubenfeld, G. Milligan, and S. Lawrence re: revised
9/29/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB14          Handprint settlement and Farm Credit consent
                                                                           Email from and to G. Milligan re: follow up with R. Escobedo re: K.
9/29/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Reed

9/29/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to G. Milligan re: summary of discussion with R. Escobedo
                                                                           Email from and to G. Milligan re: communication with Bosque County
9/29/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          appraiser
                                                                           Email to and from C. Stone re: allocation of costs re: Handprint Valley
9/29/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14          Ranch settlement
                                                                           Email to and from G. Milligan re: follow up discussion with R.
9/29/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Escobedo

9/29/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to R. Escobedo re: confirming proposal from K. Reed in writing
9/29/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Emails with C. Stone re: K. Reed settlement status
9/29/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email from R. Escobedo with proposal from K. Reed
9/29/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14          Email to G. Milligan re: proposal from K. Reed

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9/29/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB14          Email to R. Escobedo re: status
9/29/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB14          Telephone conference with R. Escobedo re: proposal response
9/30/2022 Stone, Courtney K.   $505.00       0.4      $202.00 CB14           Call with M. Weiss re: Handprint settlement and title
                                                                             Emails with J. Sanders re: title issues in connection with Handprint
9/30/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB14            settlement

9/30/2022 Stone, Courtney K.   $505.00       1.8     $909.00 CB14            Further revise and circulate updated Handprint settlement papers
                                                                             Email from and to G. Milligan re: proposal from R. Escobedo for K.
9/30/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14            Reed
                                                                             Email to R. Escobedo re: proposal and requesting mark up of
9/30/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14            settlement agreement
                                                                             Telephone conference with R. Escobedo re: follow up discussion re: K.
9/30/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB14            Reed response to offer
                                                                             Email to A. Jezisek re: preparation of restructuring support agreement
9/30/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14            for K. Reed
9/30/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB14            Email to G. Milligan re: discussion with R. Escobedo

                                           154.2   $72,233.00                TOTAL FOR TASK CODE CB14 ‐ CLAIMS/OTHER CONTESTED MATTERS




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 7/7/2022 Jezisek, Ann Marie   $210.00       0.6     $126.00    CB15         Draft third interim fee application for Waller
 7/7/2022 Stone, Courtney K.   $505.00       0.2     $101.00    CB15         Emails with A. Jezisek re: Waller fee application
 7/8/2022 Weiss, Morris D.       $0.00       0.1        $0.00   CB15         Email to A. Jezisek re: Waller fee application status (not billed)
                                                                             Email from and to G. Milligan re: interim application for compensation
7/10/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB15             to Trustee
7/11/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB15             Review and revise G. Milligan application for payment
7/12/2022 Jezisek, Ann Marie   $210.00       0.6    $126.00 CB15             Revise Trustee's fee application
                                                                             Receive and review A. Jezisek revisions to G. Milligan fee application
7/12/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB15             and send to G. Milligan for review
                                                                             Further emails with G. Milligan re: filing of fee application and related
7/12/2022 Weiss, Morris D.     $720.00       0.1     $72.00     CB15         matters
7/13/2022 Jezisek, Ann Marie   $210.00       0.6    $126.00     CB15         Revise and finalize Trustee's fee application
7/13/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00     CB15         Emails with Trustee re: exhibits to fee application
7/13/2022 Weiss, Morris D.     $720.00       0.1     $72.00     CB15         Email from and to G. Milligan re: fee application and expenses
7/14/2022 Jezisek, Ann Marie   $210.00       0.5    $105.00     CB15         Begin preparing spreadsheet for fee application calculations
7/15/2022 Weiss, Morris D.     $720.00       0.1     $72.00     CB15         Email from and to B. Huffman re: June invoice
7/15/2022 Weiss, Morris D.     $720.00       0.1     $72.00     CB15         Email to E. White re: Sheppard Mullin invoice
7/17/2022 Stone, Courtney K.   $505.00       1.1    $555.50     CB15         Review and revise Waller fee application, summary and order
7/17/2022 Weiss, Morris D.     $720.00       0.3    $216.00     CB15         Review invoice for fee application
7/18/2022 Stone, Courtney K.   $505.00       0.3    $151.50     CB15         Draft and distribute Waller fee application
7/18/2022 Weiss, Morris D.     $720.00       0.2    $144.00     CB15         Begin review of Waller third fee application

7/19/2022 Jezisek, Ann Marie   $210.00       0.6    $126.00 CB15             Continue preparing spreadsheet for fee application calculations
                                                                             Review M. Weiss revisions to fee application and emails with C. Stone
7/19/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB15             re: same
7/19/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB15             Emails with C. Stone re: Weaver fee application
                                                                             Emails with M. Weiss and A. Jezisek re: Trustee professional fee
7/19/2022 Stone, Courtney K.   $505.00       0.5    $252.50 CB15             applications
                                                                             Emails with Weaver and E. White re: status of fees and fee
7/19/2022 Stone, Courtney K.   $505.00       0.5    $252.50 CB15             applications
                                                                             Review docket sheet and finalize revisions to Waller fee application
7/19/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB15             and send comments
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB15             Email to G. Milligan re: attorney fee issue
                                                                             Email from and to A. Jezisek re: revision to fee application and review
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB15             attachment and summary
                                                                             Email to C. Stone and A. Jezisek re: fee applications for other
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB15             professionals and follow up emails re: same
7/19/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB15             Emails from and to C. Stone re: payment of Weaver
7/20/2022 Jezisek, Ann Marie   $210.00         1    $210.00 CB15             Revise fee application for Waller

7/20/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB15             Receive and review motion filed in other case to approve Energynet
                                                                             Locate and compare previous versions of seller agreement with
7/21/2022 Jezisek, Ann Marie   $210.00       0.4     $84.00 CB15             EnergyNet
                                                                             Review, revise, and coordinate preparation of Waller and Harney fee
7/21/2022 Stone, Courtney K.   $505.00       0.9    $454.50 CB15             applications
                                                                             Telephone conference with C. Stone re: pending matters including fee
7/21/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB15             applications
                                                                             Receive and review updated fee application and email comments to
7/21/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB15             same

7/21/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB15             Email from and to C. Stone re: filing of fee application and timing
7/22/2022 Jezisek, Ann Marie   $210.00       0.5    $105.00 CB15             Revise, finalize and file fee application for Waller
                                                                             Draft and file notice of filing of Harney Partners' quarterly fee
7/22/2022 Jezisek, Ann Marie   $210.00       0.3     $63.00 CB15             statement
                                                                             Review, revise, and coordinate filing of Waller and Harney fee
7/22/2022 Stone, Courtney K.   $505.00       0.4    $202.00     CB15         applications
 8/2/2022 Stone, Courtney K.   $505.00       0.1     $50.50     CB15         Email Weaver re: status of fee application
 8/8/2022 Stone, Courtney K.   $505.00       0.1     $50.50     CB15         Emails with C. Maurer re: Weaver fee application
 8/9/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00     CB15         Revise second interim fee application for Weaver

 8/9/2022 Stone, Courtney K.   $505.00       0.5    $252.50     CB15         Review, revise, and circulate draft Weaver fee application materials
8/11/2022 Stone, Courtney K.   $505.00       0.2    $101.00     CB15         Coordinate review and filing of Weaver fee application
8/11/2022 Weiss, Morris D.     $720.00       0.1     $72.00     CB15         Email from and to C. Stone re: Weaver fee application
8/12/2022 Jezisek, Ann Marie   $210.00       0.5    $105.00     CB15         Finalize Weaver fee application

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8/16/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB15           Review time entries for fee statement
9/14/2022 Stone, Courtney K.   $505.00       0.1        $50.50 CB15         Email A. Jezisek re: O'Connell fee application
9/15/2022 Jezisek, Ann Marie   $210.00       0.4        $84.00 CB15         Draft second and final fee application for O'Connell Law
                                                                            Email to A. Jezisek and C. Stone re: Sheppard Mullin fees and including
9/15/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB15           in next fee application
9/24/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB15           Email to C. Stone and A. Jezisek re: fee applications
9/28/2022 Jezisek, Ann Marie   $210.00         1     $210.00 CB15           Draft first interim fee application for Cadenhead Law Firm

9/28/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB15           Review and respond to email from C. Stone re: Cadenhead invoices

9/28/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB15           Emails with A. Jezisek and J. Pettis re: Cadenhead fee application

                                            16.3   $6,670.00                TOTAL FOR TASK CODE CB15 ‐ FEE AND EMPLOYMENT APPLICATIONS




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 7/5/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB16         Email to C. Stone re: plan treatment issue
7/11/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB16         Email to T. Nix re: plan related issues
7/12/2022 Weiss, Morris D.     $720.00       0.2     $144.00    CB16         Email from and to T. Nix re: plan related issues
7/14/2022 Jezisek, Ann Marie   $210.00       0.8     $168.00    CB16         Revise disclosure statement
7/14/2022 Stone, Courtney K.   $505.00       0.1       $50.50   CB16         Email A. Jezisek re: updates to disclosure statement
7/15/2022 Jezisek, Ann Marie   $210.00       1.5     $315.00    CB16         Prepare list of case events to include in disclosure statement
7/17/2022 Stone, Courtney K.   $505.00       0.1       $50.50   CB16         Emails with M. Weiss re: updates to draft plan
7/17/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB16         Email to and from C. Stone re: plan and disclosure statement
                                                                             Prepare list of case events for potential inclusion in disclosure
7/18/2022 Jezisek, Ann Marie   $210.00       2.5    $525.00 CB16             statement
                                                                             Initial review of plan, email to A. Jezisek re: combined plan, disclosure
7/19/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB16             statement hearing and related matters
                                                                             Begin review of docket sheet, highlight relevant topics and make
 8/3/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB16             contemporaneous outline of topics
                                                                             Finalize review of docket sheet and list and email to A. Jezisek and C.
 8/3/2022 Weiss, Morris D.     $720.00       0.6    $432.00 CB16             Stone
                                                                             Review and revise outline of matters for inclusion in disclosure
 8/5/2022 Weiss, Morris D.     $720.00       0.7    $504.00 CB16             statement
                                                                             Obtain and review docket and copies of certain filings in another
8/24/2022 Jezisek, Ann Marie   $210.00       0.5    $105.00 CB16             bankruptcy case
                                                                             Confer with M. Weiss re: potential gating provision in plan in light of
8/24/2022 Nix, William R.      $505.00       0.2    $101.00 CB16             Highland Capital decision from Fifth Circuit
8/24/2022 Weiss, Morris D.     $720.00       0.4    $288.00 CB16             Review opinion for applicability to plan

8/25/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB16             Telephone conference with C. Stone re: plan and related issues
8/30/2022 Jezisek, Ann Marie   $210.00       0.8    $168.00 CB16             Update significant events section of disclosure statement
                                                                             Zoom call with K. Hurt re: map/demonstrative for Handprint Valley
9/14/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB16            Ranch

                                            10.0   $4,003.00                 TOTAL FOR TASK CODE CB16 ‐ PLAN AND DISCLOSURE STATEMENT




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                                                             FEE DETAIL



 Date             Name         Rate    Hours     Billed Amt Task Code Description
7/13/2022 Weiss, Morris D.   $720.00       0.1       $72.00 CB18      Email to R. Escobedo re: status
                                                                      Lengthy telephone conference with R. Escobedo re: status of various
7/21/2022 Weiss, Morris D.   $720.00       1.1     $792.00 CB18       matters and settlement discussions with K. Reed
                                                                      Emails to R. Escobedo re: Farm Credit proof of claim and Colorado
7/21/2022 Weiss, Morris D.   $720.00       0.1       $72.00 CB18      mineral valuation from K. Smith
                                                                      Lengthy telephone conference with P. Keiffer re: pending matters and
7/21/2022 Weiss, Morris D.   $720.00       0.7     $504.00 CB18       next steps

 8/5/2022 Weiss, Morris D.   $720.00       0.5    $360.00 CB18            Telephone conference with P. Keiffer re: status and marketing efforts

8/25/2022 Weiss, Morris D.   $720.00       0.9    $648.00 CB18            Lengthy telephone conference with R. Escobedo (counsel to K. Reed)
 9/1/2022 Weiss, Morris D.   $720.00       0.1      $72.00 CB18           Email to R. Escobedo re: recent Fifth Circuit opinion
9/11/2022 Weiss, Morris D.   $720.00       0.2     $144.00 CB18           Emails re: settlement discussions with K. Reed

9/15/2022 Weiss, Morris D.   $720.00       0.5     $360.00 CB18           Telephone conference with R. Escobedo re: status/upcoming call
                                                                          Telephone conference with P. Keiffer re: current status of sales effort
9/22/2022 Weiss, Morris D.   $720.00       0.6     $432.00 CB18           and related issues
9/27/2022 Weiss, Morris D.   $720.00       0.2     $144.00 CB18           Email from and to C. Arisco re: status of sales effort

                                           5.0   $3,600.00                TOTAL FOR TASK CODE CB18 ‐ COMMUNICATIONS WITH CREDITORS




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Date              Name         Rate     Hours     Billed Amt Task Code Description
                                                                       Zoom call with B. Huffman, G. Milligan and E. White re: solar lease and
7/1/2022 Weiss, Morris D.     $720.00         1     $720.00 CB20       next steps
7/5/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20       Call with M. Weiss re: status of solar lease sale process
7/5/2022 Stone, Courtney K.   $505.00       0.1       $50.50 CB20      Email K. Hurt re: offer status
7/5/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB20      Email from and to C. Stone re: status of marketing efforts
7/5/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB20      Email from and to K. Hurt re: Oklahoma property

7/5/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email from Vistra and email to and from B. Huffman re: Vistra contact
7/6/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          Revise sale timeline re: Oklahoma property
                                                                          Review and revise motion for bid procedures for 439 acres of
7/6/2022 Jezisek, Ann Marie   $210.00       1.6    $336.00 CB20           Oklahoma property

7/6/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB20           Emails with J. Cadenhead re: quiet title status and expected timing
                                                                          Emails with T. Cole and A. Jezisek re: docket report in connection with
7/6/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         potential offer
7/6/2022 Stone, Courtney K.   $505.00       0.9    $454.50   CB20         Review and revise motion to sell Oklahoma 439 acres
7/6/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Emails with M. Weiss re: sale timing issues
7/6/2022 Weiss, Morris D.     $720.00       0.4    $288.00   CB20         Review Oklahoma title commitment and review encumbrances
7/6/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Emails with C. Stone re: R. Broach proposal

7/6/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from and to C. Stone re: timetable and approach re: R. Broach
7/6/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email to C. Stone re: encumbrances and seeking input
7/6/2022 Weiss, Morris D.     $720.00       0.4    $288.00   CB20         Review R. Broach contract and title issues
7/6/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from and to C. Stone re: closing and title issues
7/6/2022 Weiss, Morris D.     $720.00       0.3    $216.00   CB20         Telephone conference with C. Stone re: contract with R. Broach

7/6/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Further emails with C. Stone re: closing issues and title re: R. Broach

7/6/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           Email from E. White re: Stagecoach proposal and suggested response
                                                                          Further emails re: encumbrances clouds on title and relevance for 439
7/6/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           acre tract
7/7/2022 Berny, Hannah L      $345.00       0.3    $103.50 CB20           Telephone call with C. Stone re: purchase agreement
7/7/2022 Berny, Hannah L      $345.00       0.1     $34.50 CB20           Revise purchase agreement effective date language
                                                                          Compare title commitments re: solar lease, and emails with Trustee
7/7/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          re: same
                                                                          Emails and call with M. Weiss re: revisions to Broach addendum and
7/7/2022 Stone, Courtney K.   $505.00       0.8    $404.00 CB20           sale timeline

7/7/2022 Stone, Courtney K.   $505.00       0.3    $151.50 CB20           Call with H. Berny re: Oklahoma sale issues and Broach addendum
7/7/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB20           Call with K. Hurt re: Broach sale timeline
                                                                          Analyze and revise Broach sale addendum in connection with title
7/7/2022 Stone, Courtney K.   $505.00       0.5    $252.50 CB20           timing issues
                                                                          Telephone conference with B. Huffman re: status of discussions with
7/7/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           Vistra
7/7/2022 Weiss, Morris D.       $0.00       0.1      $0.00 CB20           Email to G. Milligan re: discussion with B. Huffman (not billed)
7/7/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Email from and to C. Stone re: R. Broach offer
                                                                          Telephone conference with C. Stone re: R. Broach offer and response
7/7/2022 Weiss, Morris D.     $720.00       0.7    $504.00 CB20           and review of contract
                                                                          Email from and to B. Huffman re: his summary of conversation with
7/7/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           Vistra
7/8/2022 Jezisek, Ann Marie   $210.00       0.4     $84.00 CB20           Review and revise sale timeline re: 439 acres in Oklahoma
                                                                          Revise motion to approve bid procedures and sale re: 439 acres in
7/8/2022 Jezisek, Ann Marie   $210.00       0.3     $63.00   CB20         Oklahoma
7/8/2022 Jezisek, Ann Marie   $210.00       0.5    $105.00   CB20         Compare versions of R. Broach sale contract and revise
7/8/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Call with M. Weiss re: Broach sale status
7/8/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Email J. Cadenhead re: quiet title service addresses
                                                                          Emails with A. Jezisek re: revisions to Broach sale contract, timeline,
7/8/2022 Stone, Courtney K.   $505.00       0.3    $151.50 CB20           and sale papers
                                                                          Compile and distribute updated sale contract and motion papers to G.
7/8/2022 Stone, Courtney K.   $505.00       0.5    $252.50 CB20           Milligan, R. Broach, and K. Reed

7/8/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Email from and to B. Huffman re: discussion with P. Harsy re: status
7/8/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           Receive and review updated R. Broach draft contract



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 7/8/2022 Weiss, Morris D.     $720.00       0.4      $288.00   CB20         Telephone conference with C. Stone re: R. Broach offer and next steps
 7/8/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB20         Emails to and from T. Beach re: abstracting process and timing
 7/8/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB20         Email from and to E. White re: interest of Stagecoach
 7/9/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB20         Email from and to G. Milligan re: monetization of assets
7/11/2022 Stone, Courtney K.   $505.00       0.2      $101.00   CB20         Calls with K. Hurt re: Broach contract
7/11/2022 Stone, Courtney K.   $505.00       0.3      $151.50   CB20         Calls with M. Weiss re: contract comments
7/11/2022 Stone, Courtney K.   $505.00       0.1       $50.50   CB20         Emails with G. Milligan re: Oklahoma abstracting
                                                                             Research re: agricultural exemption status for solar property and
7/12/2022 Jezisek, Ann Marie   $210.00       1.4      $294.00 CB20           emails re: same

7/12/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB20           Receive and review email from P. Harsy re: conditions precedent
                                                                             Review conditions precedent and lease agreement with Angus Solar
7/12/2022 Weiss, Morris D.     $720.00       0.4      $288.00 CB20           and email to B. Huffman re: same
7/12/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB20           Email from E. White re: discussion with Stagecoach

7/12/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB20           Email from A. Jezisek re: agricultural exemption and review same
7/12/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB20           Review title commitment re: exemption issues
                                                                             Email to E. White, G. Milligan, B. Huffman and A. Jezisek re:
7/12/2022 Weiss, Morris D.     $720.00       0.2      $144.00   CB20         Stagecoach and agricultural exemption
7/12/2022 Weiss, Morris D.       $0.00       0.1        $0.00   CB20         Emails from and to B. Huffman re: Stagecoach (not billed)
7/13/2022 Stone, Courtney K.   $505.00       0.2      $101.00   CB20         Emails with J. Cadenhead re: status of quiet title action
7/13/2022 Stone, Courtney K.   $505.00       0.3      $151.50   CB20         Emails with M. Weiss re: status of title issues and next steps
7/13/2022 Stone, Courtney K.   $505.00       0.4      $202.00   CB20         Email J. Sanders re: title status and affidavit of marketability
7/13/2022 Stone, Courtney K.   $505.00       0.7      $353.50   CB20         Review and revise Broach sale addendum and distribute same
7/13/2022 Stone, Courtney K.   $505.00       0.4      $202.00   CB20         Emails and calls with C. Fox re: Broach addendum comments
7/13/2022 Stone, Courtney K.   $505.00       0.7      $353.50   CB20         Attend broker update call
7/13/2022 Stone, Courtney K.   $505.00       0.2      $101.00   CB20         Call with M. Weiss re: status of Broach sale
7/13/2022 Stone, Courtney K.   $505.00       0.3      $151.50   CB20         Call with R. Broach re: contract comments
7/13/2022 Weiss, Morris D.     $720.00       0.7      $504.00   CB20         Participate in Oklahoma broker Zoom call
7/13/2022 Weiss, Morris D.     $720.00       0.3      $216.00   CB20         Follow up call with C. Stone re: pending matters
                                                                             Telephone conference with C. Stone re: R. Broach, emails and
7/13/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB20         revisions
7/13/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB20         Email to T. Beach re: abstracts and next steps
7/13/2022 Weiss, Morris D.     $720.00       0.2      $144.00   CB20         Emails from B. Huffman re: status with Vistra
7/14/2022 Stone, Courtney K.   $505.00       0.2      $101.00   CB20         Call with R. Broach re: revised sale addendum
                                                                             Coordinate execution of revised sale contract and email with Trustee
7/14/2022 Stone, Courtney K.   $505.00       0.5      $252.50 CB20           and M. Weiss re: same

7/15/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB20           Assemble fully executed R. Broach sale contract and addendum
                                                                             Review and revise motion to approve bid procedures and sale of 439
7/15/2022 Jezisek, Ann Marie   $210.00           1    $210.00 CB20           acres in Oklahoma
                                                                             Draft motion to expedite motion to approve bid procedures re: 439
7/15/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB20           acres in Oklahoma
7/15/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB20           Review and respond to email re: back‐up bidder deadlines
7/15/2022 Stone, Courtney K.   $505.00       0.4      $202.00 CB20           Call with M. Weiss re: sale hearing and Farm Credit lien
                                                                             Coordinate execution, compilation and filing of final contract and sale
7/15/2022 Stone, Courtney K.   $505.00       1.9      $959.50 CB20           papers
                                                                             Detailed email to title company re: Broach sale and status of open title
7/15/2022 Stone, Courtney K.   $505.00       0.5      $252.50 CB20           issues
                                                                             Emails with D. Castleberry, M. Weiss, and A. Jezisek re: sale motion
7/15/2022 Stone, Courtney K.   $505.00       0.2      $101.00   CB20         setting
7/15/2022 Stone, Courtney K.   $505.00       0.3      $151.50   CB20         Emails with M. Weiss and A. Jezisek re: status of sale papers
7/15/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB20         Email from and to C. Stone re: proposed sale of 439 acre parcel
7/15/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB20         Emails re: setting of hearing on motion to sell 439 acre parcel
7/15/2022 Weiss, Morris D.     $720.00       0.2      $144.00   CB20         Email to G. Milligan with information on other broker options
7/15/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB20         Email contact information to E. White and G. Milligan
7/15/2022 Weiss, Morris D.     $720.00       0.1       $72.00   CB20         Email to C. Stone re: status of motion re: 439 acres

7/15/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB20           Email from G. Milligan re: proposal for sale of Colorado minerals
7/16/2022 Stone, Courtney K.   $505.00       0.1       $50.50 CB20           Emails with R. Escobedo re: Reed signoff on Broach contract

7/16/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB20           Email from and to G. Milligan re: solar lease status and next steps



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 Date              Name         Rate     Hours     Billed Amt Task Code Description
                                                                        Review files for appraisal of Colorado mineral interests, and emails
7/18/2022 Jezisek, Ann Marie   $210.00       0.2       $42.00 CB20      with M. Weiss re: same
                                                                        Review online property tax appraisal information on Bosque County
7/18/2022 Jezisek, Ann Marie   $210.00       0.1       $21.00 CB20      property
                                                                        Email to Trustee, E. White and attorneys re: changes to online
7/18/2022 Jezisek, Ann Marie   $210.00       0.1       $21.00 CB20      property tax appraisal information on Bosque County property

7/18/2022 Stone, Courtney K.   $505.00       0.1      $50.50   CB20         Emails with D. Castleberry re: setting for bid procedures motion
7/18/2022 Stone, Courtney K.   $505.00       0.1      $50.50   CB20         Email R. Broach re: setting for bid procedures motion
7/18/2022 Stone, Courtney K.   $505.00       0.1      $50.50   CB20         Email S. Bass re: sale of 439 acres
7/18/2022 Stone, Courtney K.   $505.00       0.1      $50.50   CB20         Email broker team re: bid procedures hearing
                                                                            Review witness and exhibit list and hearing script in preparation for
7/18/2022 Stone, Courtney K.   $505.00       0.8    $404.00 CB20            Oklahoma hearing
                                                                            Telephone conference with E. White re: Colorado minerals and
7/18/2022 Weiss, Morris D.     $720.00       0.3    $216.00    CB20         monetization along with agricultural exemption on Solar Tract
7/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Emails to E. White re: Colorado mineral interests
7/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Email to A. Jezisek re: recorded Colorado deed
7/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Emails re: hearing set on stalking horse bid for 439 acres
7/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Research re: Colorado mineral appraisal
7/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Further emails re: agricultural exemption
                                                                            Receive and review Colorado mineral appraisal and send to E. White
7/18/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           and G. Milligan
7/18/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           Email to and from A. Jezisek re: Colorado mineral appraisal
                                                                            Emails re: agricultural exemption, received information and follow up
7/18/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20            re: same

7/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20            Telephone conference with A. Jezisek re: agricultural exemption
7/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20            Email to and from P. Keiffer re: Colorado mineral appraisals
7/19/2022 Jezisek, Ann Marie   $210.00       0.8    $168.00 CB20            Revise timeline for sale of 439 acres
                                                                            Review, research and respond to emails re: agricultural exemption on
7/19/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20           Bosque County property
                                                                            Draft witness and exhibit list for hearing on approval of bid
7/19/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20           procedures
                                                                            Review drafts and email with M. Weiss and A. Jezisek re: revised
7/19/2022 Stone, Courtney K.   $505.00       0.5    $252.50 CB20            proposed sale timeline
                                                                            Telephone conference with E. White re: proposal from Stagecoach
7/19/2022 Weiss, Morris D.     $720.00       0.5    $360.00 CB20            and related matters
7/19/2022 Weiss, Morris D.       $0.00       0.1      $0.00 CB20            Email to P. Keiffer re: Colorado minerals (not billed)
                                                                            Telephone conference with B. Huffman re: status of pending matters
7/19/2022 Weiss, Morris D.     $720.00       0.4    $288.00 CB20            re: solar lease

                                                                            Research prior witness and exhibit list and email to C. Stone and A.
7/19/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20            Jezisek re: upcoming hearing on 439 acres and witness and exhibit list
                                                                            Further emails re: timeline for sale of 439 acre parcel including hearing
7/19/2022 Weiss, Morris D.     $720.00       0.2    $144.00    CB20         date
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Email from and to A. Jezisek re: updated timetable
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Further emails re: sales timetable
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Emails re: potential interest in Oklahoma property
7/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Email re: procedure and retention issues re: Colorado minerals
7/20/2022 Stone, Courtney K.   $505.00       0.1     $50.50    CB20         Emails with G. Milligan and K. Hurt re: listing agreement
7/20/2022 Stone, Courtney K.   $505.00       0.1     $50.50    CB20         Emails with D. Castleberry re: sale hearing setting
                                                                            Email from C. Stone to title company re: policy and email to C. Stone
7/20/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           re: nature of title policy

7/20/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Emails re: potential increase in broker's commission in Oklahoma
7/20/2022 Weiss, Morris D.     $720.00       0.2    $144.00    CB20         Review existing brokerage agreement, motion and order
7/20/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Emails re: approval of auction re: Energynet
7/20/2022 Weiss, Morris D.     $720.00       0.1     $72.00    CB20         Email from B. Huffman re: non‐disclosure agreement
                                                                            Further email from B. Huffman re: non‐disclosure agreement and
7/20/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20            mutuality and respond to same
7/21/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB20            Revise timeline re: sale of 439 acres
                                                                            Prepare exhibit for hearing on approval of bid procedures, and email
7/21/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20           to relevant parties



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                                                                        Finalize and file witness and exhibit list for hearing on approval of bid
7/21/2022 Jezisek, Ann Marie   $210.00       0.4       $84.00 CB20      procedures
7/21/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20       Call with M. Weiss re: sale order and timeline updates
7/21/2022 Stone, Courtney K.   $505.00       0.8     $404.00 CB20       Prepare outline for broker testimony
7/21/2022 Stone, Courtney K.   $505.00       0.1       $50.50 CB20      Emails with K. Hurt re: testimony preparation
                                                                        Review and coordinate filing and distribution of witness and exhibit
7/21/2022 Stone, Courtney K.   $505.00       0.6     $303.00 CB20       list and revised sale timeline
                                                                        Telephone conference with B. Huffman re: status of discussions with
7/21/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20       parties, open issues and next steps
7/21/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB20      Emails to and from B. Huffman re: call with Stagecoach
7/22/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20       Call with M. Weiss re: lien priority on Oklahoma ranch
7/22/2022 Stone, Courtney K.   $505.00       0.6     $303.00 CB20       Prepare outline for bid procedures hearing

                                                                            Email to G. Milligan and E. White re: Colorado minerals, possible
7/22/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20            retention of EnergyNet and K. Smith valuation of minerals

7/22/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           Telephone conference with J. Sanders re: Oklahoma title issues
                                                                            Email from and to B. Huffman re: summary of discussion with
7/22/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB20            Stagecoach re: interest in Bosque County property
                                                                            Telephone conference with C. Stone re: pending matters, next steps,
7/22/2022 Weiss, Morris D.     $720.00       0.7    $504.00   CB20          upcoming hearing and related matters
7/22/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20          Email from C. Stone re: Oklahoma docket for quiet title action
7/22/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20          Email to A. Jezisek re: checking docket in Oklahoma matter
7/23/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20          Email from and to K. Hurt re: question from prospective bidder
                                                                            Follow up emails with K. Hurt re: bidder and potential stalking horse
7/23/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           bid
                                                                            Review article on carbon credits and circulate to Oklahoma broker
7/23/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           team
                                                                            Email from and to G. Milligan re: B. Huffman summary of solar lease
7/23/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           discussions
7/25/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20           Draft revised order approving bid procedures
                                                                            Draft and file notice of filing of revised order approving bid
7/25/2022 Jezisek, Ann Marie   $210.00       0.7    $147.00 CB20            procedures
                                                                            Draft and file amended witness and exhibit list for hearing on bid
7/25/2022 Jezisek, Ann Marie   $210.00       0.3     $63.00   CB20          procedures, and prepare additional exhibit
7/25/2022 Stone, Courtney K.   $505.00       0.3    $151.50   CB20          Calls with M. Weiss re: sale hearing preparation
7/25/2022 Stone, Courtney K.   $505.00         1    $505.00   CB20          Zoom with K. Hurt to prepare hearing testimony
7/25/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20          Emails with J. Cadenhead re: status of quiet title

7/25/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20           Email A. Jezisek re: updates to bid procedures and revised timeline
7/25/2022 Stone, Courtney K.   $505.00       0.7    $353.50 CB20            Draft and circulate K. Hurt testimony outline
7/25/2022 Stone, Courtney K.   $505.00       2.8   $1,414.00 CB20           Prepare for bid procedures hearing
                                                                            Review revised bid procedures order and witness and exhibit list and
7/25/2022 Stone, Courtney K.   $505.00       0.4    $202.00 CB20            coordinate revisions to same
                                                                            Emails with K. Hurt and G. Milligan re: Oklahoma update for status
7/25/2022 Stone, Courtney K.   $505.00       0.1     $50.50 CB20            conference
7/25/2022 Weiss, Morris D.     $720.00         1    $720.00 CB20            Zoom call with K. Hurt re: preparation for hearing
                                                                            Email to and from T. Beach re: abstracts, title examination and
7/25/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20          updated commitment
7/25/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20          Email from B. Huffman re: communication from Vistra
7/26/2022 Jezisek, Ann Marie   $210.00       0.3     $63.00   CB20          Revise and upload order approving bid procedures
7/26/2022 Stone, Courtney K.   $505.00         1    $505.00   CB20          Prepare for and attend sale hearing
7/26/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20          Email A. Jezisek re: bid procedures order and notice

7/26/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20          Emails with R. Broach and K. Hurt re: next steps on Oklahoma sale
7/26/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20          Emails with Stewart Title and G. Milligan re: abstracting issues
7/26/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20          Texts with K. Hurt re: Oklahoma abstracts
7/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20          Email to and from A. Jezisek re: Oklahoma suit to quiet title
                                                                            Email to C. Stone, G. Milligan, et al. re: lien on property and tracts in
7/26/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           439 acre sale

7/26/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20            Telephone conference with K. Hurt and C. Fox re: hearing and status
                                                                            Participate in Zoom call with G. Milligan, E. White and B. Huffman re:
7/26/2022 Weiss, Morris D.     $720.00       1.1    $792.00 CB20            solar lease monetization

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7/26/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB20      Emails re: Oklahoma title
                                                                        Attend hearing on sales procedure for 439 acre tract and status
7/26/2022 Weiss, Morris D.     $720.00       0.6     $432.00 CB20       conference
                                                                        Review and respond to email from M. Weiss re: entry of order
7/27/2022 Jezisek, Ann Marie   $210.00       0.1       $21.00 CB20      approving bid procedures
                                                                        Email to courtroom deputy re: entry of order approving bid
7/27/2022 Jezisek, Ann Marie   $210.00       0.1       $21.00 CB20      procedures
7/27/2022 Stone, Courtney K.   $505.00       0.9     $454.50 CB20       Emails with N. Reid re: title issues and review of same
                                                                        Email G. Milligan, K. Hurt and M. Weiss summary of Stewart Title call
7/27/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20       and next steps
7/27/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20       Emails with N. Reid re: Broach deposit
7/27/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB20       Attend Oklahoma broker call
7/27/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB20       Call with Stewart Title re: abstracting issues
7/27/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20       Call with C. Fox re: 439 acre property bid terms
7/27/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB20      Emails to G. Milligan re: Oklahoma title issues

7/27/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          Email to N. Reid re: including G. Milligan in discussion (not billed)
7/27/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          Email from and to K. Hurt re: Oklahoma marketing (not billed)
                                                                           Email to and from A. Jezisek re: status of entry of sales procedure
7/27/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          order
7/28/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          Revise bid procedures and notice of auction and sale hearing
7/28/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Email C. Fox executed Broach contract

7/28/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Review bid procedure and auction notice and email A. Jezisek re: same
7/28/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Email A. Jezisek re: abstracting documents
7/28/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Call with G. Milligan re: 439 acre property auction strategy
7/28/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Review and comment on updated Oklahoma marketing flyer
7/28/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Email bid procedures to C. Fox
7/28/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Email H. Bordwin re: Oklahoma bid strategy
                                                                           Review tax certificates for Oklahoma properties and compare to
7/29/2022 Jezisek, Ann Marie   $210.00         1    $210.00   CB20         acreage information
7/29/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00   CB20         Revise and finalize notice of auction and sale hearing
7/29/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Emails with A. Jezisek re: Oklahoma abstracts
7/29/2022 Weiss, Morris D.     $720.00       0.3    $216.00   CB20         Emails from and to G. Milligan re: Colorado minerals
7/30/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from and to G. Milligan re: Colorado minerals
7/31/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Communications with K. Hurt re: marketing updates
                                                                           Locate corrective deeds re: solar tract and emails with Trustee re:
 8/1/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          same
                                                                           Review, research and respond to email from M. Weiss re: deeds
 8/2/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          related to Texas property
                                                                           Review, research and respond to email from M. Weiss re: objection
 8/2/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB20           deadlines for certain filings
 8/2/2022 Stone, Courtney K.   $505.00       0.4    $202.00 CB20           Emails with C. Fox and H. Bordwin re: marketing plan
 8/2/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Emails with G. Milligan and Vistra re: ownership
                                                                           Review email from B. Huffman re: other decisions with interested
 8/2/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           parties, respond to same and reply from B. Huffman
 8/3/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           Review solar lease for term
 8/3/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Email to B. Huffman re: status of discussions
                                                                           Review, research and respond to email from Trustee re: ownership
 8/4/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB20           and liens on Hill County property
 8/4/2022 Stone, Courtney K.   $505.00       0.1     $50.50 CB20           Email J. Cadenhead re: quiet title status
 8/4/2022 Stone, Courtney K.   $505.00       0.3    $151.50 CB20           Emails with G. Milligan and A. Jezisek re: Hill County property

 8/4/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           Telephone conference with C. Morgan (property owner in Oklahoma)
 8/4/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Emails with title company re: revised commitment
                                                                           Further telephone conference with C. Stone re: quiet title action and
 8/4/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          status
 8/4/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to and from C. Stone re: title issues
 8/4/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Emails re: Colorado mineral and title issues

 8/5/2022 Jezisek, Ann Marie   $210.00       1.1    $231.00 CB20           Research re: addresses for parties not yet served in quiet title suit
                                                                           Review, research and respond to email from M. Weiss re: previous
 8/5/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          title policy on portion of Oklahoma property



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 8/5/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB20       process

 8/5/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Emails from K. Hurt and G. Milligan re: Oklahoma marketing update
 8/5/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Emails with A. Jezisek re: lis pendens release status
 8/5/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Emails with A. Jezisek re: quiet title service issues
 8/5/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email to G. Milligan re: title policy and title company
                                                                           Telephone conference with K. Hurt re: status of marketing efforts in
 8/5/2022 Weiss, Morris D.     $720.00       0.6    $432.00   CB20         Oklahoma
 8/5/2022 Weiss, Morris D.     $720.00       0.3    $216.00   CB20         Telephone conference with C. Stone re: discussion with K. Hurt
 8/5/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from R. Escobedo re: Texas ranch
 8/5/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email to and from G. Milligan re: Texas ranch from R. Escobedo
 8/5/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email re: carbon credits market
 8/5/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email to and from A. Jezisek re: title policy on solar parcel
 8/5/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email to and from P. Keiffer re: title policy
 8/7/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         Emails re: minerals re: 1,200 acre parcel
                                                                           Email from P. Keiffer with title policy for 1,200 acre tract; review and
 8/7/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         forward same
 8/8/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from S. O'Connell re: title policy information
 8/8/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email to P. Keiffer re: title policy provided
 8/8/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         Emails re: status of solar project
                                                                           Telephone conference with G. Milligan re: solar lease emails and
 8/8/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         status
 8/9/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Call with M. Weiss re: solar lease status
 8/9/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Emails re: call with brokers
 8/9/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Emails re: offer on Oklahoma property
 8/9/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Discuss solar status with T. Nix
8/10/2022 Stone, Courtney K.   $505.00       0.5    $252.50   CB20         Attend broker update

8/10/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Emails with Stewart Title re: status of updated Oklahoma commitment
8/10/2022 Weiss, Morris D.     $720.00       0.5    $360.00   CB20         Participate in Zoom call with Oklahoma broker team
8/10/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Post call telephone conference with C. Stone
8/11/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Emails with Stewart Title re: updated commitment

8/11/2022 Stone, Courtney K.   $505.00       1.2    $606.00   CB20         Review and analyze updated title commitment for Oklahoma acreage
8/11/2022 Weiss, Morris D.       $0.00       0.1      $0.00   CB20         Telephone conference with E. White re: status (not billed)
8/11/2022 Weiss, Morris D.       $0.00       0.1      $0.00   CB20         Email to and from B. Huffman re: call (not billed)
8/11/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email to and from G. Milligan re: call with B. Huffman
8/11/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email to G. Milligan re: call with B. Huffman and E. White
                                                                           Telephone conference with B. Huffman and E. White re: status of solar
8/11/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB20           property
                                                                           Follow up telephone conference with E. White re: discussion of B.
8/11/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Huffman
8/12/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB20           Review title commitment re: Oklahoma properties
                                                                           Emails with C. Stone re: resolved issues in title commitment re:
8/12/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00 CB20           Oklahoma properties
                                                                           Email to title company re: resolved issues in title commitment re:
8/12/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00 CB20           Oklahoma properties
                                                                           Telephone conference with P. Keiffer re: status of solar lease
8/12/2022 Weiss, Morris D.     $720.00       0.5    $360.00 CB20           monetization
8/12/2022 Weiss, Morris D.       $0.00       0.1      $0.00 CB20           Email to G. Milligan re: P. Keiffer discussion (not billed)
                                                                           Email from and to A. Jezisek re: Oklahoma judgment resolution for
8/12/2022 Weiss, Morris D.       $0.00       0.1      $0.00   CB20         title company (not billed)
8/16/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Email K. Hurt and R. Broach re: 439 acre sale update
8/16/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from K. Hurt re: R. Broach contact
8/16/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email to and from G. Milligan re: R. Broach contact with K. Hurt
8/17/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00   CB20         Review docket and new filings for quiet title lawsuit
8/17/2022 Jezisek, Ann Marie   $210.00       0.1     $21.00   CB20         Email update re: quiet title lawsuit to M. Weiss and C. Stone
8/17/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         Emails re: communication with Vistra and solar lease status
8/18/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Emails re: solar lease with G. Milligan and B. Huffman
8/19/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00   CB20         Emails with M. Weiss re: counsel for Vistra
8/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from and to G. Milligan re: bidding on 439 acre property
                                                                           Email to and from A. Jezisek re: bidding deadline on Oklahoma
8/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           property



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8/19/2022 Weiss, Morris D.     $720.00       0.5    $360.00 CB20           Zoom call with G. Milligan, E. White and B. Huffman re: solar lease
8/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Email to and from A. Jeizsek re: counsel to Vistra
8/19/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Emails with T. Million re: counsel to Vistra

8/22/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Email to T. Million re: Vistra contacts and email to G. Milligan re: same
8/22/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Email to and from G. Milligan re: monetization of solar lease
                                                                           Telephone conference to K. Hurt re: Oklahoma marketing and sale
8/22/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           process
                                                                           Email from T. Million re: Vistra contacts and email to G. Milligan re:
8/23/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20           same
8/23/2022 Weiss, Morris D.     $720.00       0.4    $288.00 CB20           Review ground lease and amendments
                                                                           Telephone conference with C. Stone re: status and discussion with K.
8/23/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         Hurt
8/23/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from and to G. Milligan re: Colorado minerals
8/24/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Emails with J. Cadenhead re: status of title issues
8/24/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from and to B. Huffman re: Vistra and lease
8/24/2022 Weiss, Morris D.       $0.00       0.2      $0.00   CB20         Telephone conference with T. Million re: status (billed partial)
8/24/2022 Weiss, Morris D.     $720.00       0.7    $504.00   CB20         Zoom call re: Oklahoma property/brokers
8/24/2022 Weiss, Morris D.     $720.00       0.7    $504.00   CB20         Zoom call with B. Huffman and G. Milligan re: Vistra
8/24/2022 Weiss, Morris D.       $0.00       0.1      $0.00   CB20         Telephone conference with C. Stone re: status (not billed)
8/25/2022 Stone, Courtney K.   $505.00       0.4    $202.00   CB20         Call with M. Weiss re: 439 sale waterfall
8/25/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Emails with N. Reid re: title and abstracting status
8/25/2022 Stone, Courtney K.   $505.00       0.3    $151.50   CB20         Email K. Hurt re: Redhill acreage and K. Reed title issues
8/25/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Emails with J. Cadenhead re: status of title issues
                                                                           Email from and to G. Milligan re: solar lease status and communication
8/25/2022 Weiss, Morris D.     $720.00       0.3    $216.00   CB20         with parties
8/25/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         Telephone conference with J. Sanders re: lease
8/25/2022 Weiss, Morris D.       $0.00       0.1      $0.00   CB20         Email lease to J. Sanders (not billed)
8/25/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         Email to and from P. Keiffer re: solar lease status
8/25/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Email from B. Huffman re: communication from Vistra
                                                                           Telephone conference with C. Stone re: Oklahoma marketing,
8/25/2022 Weiss, Morris D.     $720.00       0.5    $360.00   CB20         competing bids and fee allocations
8/25/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         Draft circulated suggested reply
8/26/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Call with K. Hurt re: Reed related title issues
8/26/2022 Weiss, Morris D.     $720.00       0.3    $216.00   CB20         Telephone conference with P. Keiffer re: solar lease status
8/26/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         Email from and to G. Milligan re: solar lease issues
                                                                           Email from and to B. Huffman re: his proposed revisions to email to
8/26/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20           Vistra
                                                                           Receive and review initial draft of distribution of proceeds from E.
8/27/2022 Weiss, Morris D.     $720.00       0.3    $216.00 CB20           White and respond to same
                                                                           Review the Ground Lease to determine the rights of Landlord in the
8/28/2022 Sanders, Jimar A.    $560.00       0.7    $392.00 CB20           event Tenant does not commence construction
                                                                           Email M. Weiss re: review of the Ground Lease in the event Tenant
8/28/2022 Sanders, Jimar A.    $560.00       0.3    $168.00 CB20           does not commence construction

8/28/2022 Weiss, Morris D.     $720.00       0.2    $144.00   CB20         Email from and to J. Sanders re: his analysis for lease and next steps
8/29/2022 Jezisek, Ann Marie   $210.00       0.2     $42.00   CB20         Revise contract with R. Murdock for sale of 439 acres
8/29/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Call with M. Weiss re: Oklahoma sale status
8/29/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20         Call with M. Weiss re: solar lease updates
8/29/2022 Stone, Courtney K.   $505.00       0.3    $151.50   CB20         Emails with K. Hurt re: bid form
8/29/2022 Stone, Courtney K.   $505.00       0.8    $404.00   CB20         Review and revise contract and addendum to Murdock bid
8/29/2022 Stone, Courtney K.   $505.00       0.4    $202.00   CB20         Emails with Stewart Title re: status of 439 sale and next steps
8/29/2022 Weiss, Morris D.     $720.00       0.1     $72.00   CB20         Review Oklahoma contract and emails re: offer
                                                                           Prepare sale contract with Andersons and I. Smith for Oklahoma
8/30/2022 Jezisek, Ann Marie   $210.00       0.9    $189.00   CB20         property
8/30/2022 Stone, Courtney K.   $505.00       0.3    $151.50   CB20         Call with M. Weiss re: Oklahoma offer updates
8/30/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Emails with E. White re: 439 funds flow
8/30/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Emails with J. Sanders re: Oklahoma title and closing issues
8/30/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20         Emails with K. Hurt and A. Jezisek re: draft offer on 1550 acres

8/30/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB20           Emails with N. Reid re: draft closing statement and abstracting costs
8/30/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB20           Emails with J. Cadenhead and Stewart Title re: filed disclaimers



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                                                                        Email from and to E. White re: closing distributions from Oklahoma
8/30/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20       sale
8/30/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20       Telephone conference with C. Stone re: sales process
8/30/2022 Weiss, Morris D.     $720.00       0.1       $72.00 CB20      Email to D. Castleberry re: possible remote hearing re: sale
                                                                        Attend teleconference call re: Oklahoma property title commitment
8/31/2022 Berny, Hannah L      $345.00       1.2     $414.00 CB20       needs
                                                                        Research re: ability to sell free and clear of judgment liens and lis
8/31/2022 Berny, Hannah L      $345.00       2.7     $931.50 CB20       pendens
                                                                        Revise sale contract and addendum with Andersons and I. Smith re:
8/31/2022 Jezisek, Ann Marie   $210.00       0.1       $21.00 CB20      Oklahoma property
                                                                        Participate in conference call with C. Stone re: Oklahoma title related
8/31/2022 Sanders, Jimar A.    $560.00       1.5     $840.00 CB20       work

8/31/2022 Stone, Courtney K.   $505.00       0.5    $252.50 CB20            Further call with M. Weiss re: Oklahoma sale issues and next steps
                                                                            Call with J. Sanders and H. Berny re: open Oklahoma title and closing
8/31/2022 Stone, Courtney K.   $505.00       1.1    $555.50 CB20            issues
                                                                            Analyze acreage ownership and settlement issues in connection with
8/31/2022 Stone, Courtney K.   $505.00       0.9    $454.50   CB20          1550 offer and email with K. Hurt re: same
8/31/2022 Stone, Courtney K.   $505.00       0.2    $101.00   CB20          Call with M. Weiss re: Oklahoma sale issues
8/31/2022 Stone, Courtney K.   $505.00       0.1     $50.50   CB20          Emails with title company, K. Hurt and E. Murdock re: deposit
8/31/2022 Stone, Courtney K.   $505.00       0.3    $151.50   CB20          Review and coordinate revisions to Anderson contract
                                                                            Analyze mortgage and lien documentation in connection with
8/31/2022 Stone, Courtney K.   $505.00       1.1    $555.50 CB20            Oklahoma disbursements to K. Reed
8/31/2022 Stone, Courtney K.   $505.00       0.1     $50.50 CB20            Email E. White and G. Milligan re: Reed disbursement priority
8/31/2022 Weiss, Morris D.       $0.00       0.1      $0.00 CB20            Email to C. Stone re: upcoming call (not billed)
                                                                            Telephone conference with C. Stone re: pending issues re: sale,
8/31/2022 Weiss, Morris D.     $720.00       0.2    $144.00 CB20            proceeds and allocation of expense
                                                                            Telephone conference with E. White re: closing statement,
8/31/2022 Weiss, Morris D.     $720.00       0.4    $288.00 CB20            distribution and allocable expenses to K. Reed
8/31/2022 Weiss, Morris D.     $720.00       0.1     $72.00 CB20            Emails re: offer on Oklahoma property
                                                                            Telephone conference with C. Stone re: liens on Oklahoma property,
8/31/2022 Weiss, Morris D.     $720.00       0.5    $360.00 CB20            distribution to creditors, waterfall and related issues
 9/1/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20           Email to interested party re: bid procedures for 439 acres
 9/1/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20           Draft witness and exhibit list for sale hearing for 439 acres
 9/1/2022 Jezisek, Ann Marie   $210.00       0.5     $105.00 CB20           Review title commitment for Oklahoma properties

 9/1/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20           Email to C. Stone re: title commitment for Oklahoma properties

 9/1/2022 Stone, Courtney K.   $505.00       1.3     $656.50 CB20           Call with K. Hurt re: acreage analysis in connection with 1550 offer
 9/1/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20           Emails with A. Jezisek re: witness and exhibit list
                                                                            Emails with A. Jezisek re: title commitment exceptions related to
 9/1/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20           adversary proceedings
 9/1/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20           Email R. Broach re: bid procedures
                                                                            Analyze deeds and recorded liens in connection with offer on 1550
 9/1/2022 Stone, Courtney K.   $505.00       6.2   $3,131.00 CB20           and 120 parcels and draft detailed summary of same
 9/1/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           Email from and to C. Fox re: logistics for upcoming hearing
 9/1/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           Email to A. Jezisek re: witness and exhibit lists
                                                                            Telephone conference with C. Stone re: sales process, title issues and
 9/1/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20           related matters
 9/1/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           Email to A. Jezisek re: additional party interested in 439 acres
                                                                            Email from and to G. Milligan re: advising interested party of bid
 9/1/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20           procedures

 9/1/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20           Email from and to C. Stone re: sales process, title and related matters
 9/2/2022 Berny, Hannah L      $345.00       0.4     $138.00 CB20           Summarize research re: lis pendens and 363 sale
                                                                            Review and revise addendum to sale contract with Andersons and I.
 9/2/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20           Smith
                                                                            Prepare various options for sale timeline re: contract with Andersons
 9/2/2022 Jezisek, Ann Marie   $210.00         1     $210.00 CB20           and I. Smith
 9/2/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20           Prepare exhibits for hearing on approval of sale of 439 acres
 9/2/2022 Jezisek, Ann Marie   $210.00       0.5     $105.00 CB20           Revise sale contract with Andersons and I. Smith
                                                                            Finalize and file witness and exhibit list for hearing on approval of sale
 9/2/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20           of 439 acres



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                                                                          Email to court staff and various parties with witness and exhibit list
9/2/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          and exhibits for hearing on approval of sale of 439 acres

9/2/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20          Email to Trustee re: draft witness and exhibit list for sale hearing

9/2/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          Assemble various documents related to sale of 439 acres for M. Weiss

                                                                          Review, research and respond to email from C. Stone re: releases of
9/2/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          various documents filed against the Oklahoma properties
                                                                          Extended email to Stewart Title re: open issues and commitment
9/2/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB20          status
9/2/2022 Stone, Courtney K.   $505.00       0.7     $353.50 CB20          Emails with G. Milligan, M. Weiss, and K. Hurt re: 1550 offer
9/2/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Email H. Berny re: sale contract, motion and complaint
9/2/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Email A. Jezisek re: lis pendens draft
                                                                          Review and distribute email summary re: 1550 acreage analysis to G.
9/2/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          Milligan and brokers
9/2/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with K. Hurt re: 1550 acreage issues
9/2/2022 Stone, Courtney K.   $505.00         1     $505.00 CB20          Call with M. Weiss re: status of Oklahoma title
9/2/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Email M. Weiss re: sale procedure for 1550 contract

9/2/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB20          Review edits to Murdock contract and proposed sale closing timeline
9/2/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Email E. White re: lien coverage and waterfall analysis for 1550
9/2/2022 Stone, Courtney K.   $505.00       0.8     $404.00 CB20          Review research re: lis pendens exceptions and 363(f)
9/2/2022 Stone, Courtney K.   $505.00       0.6     $303.00 CB20          Emails with A. Jezisek re: revisions to 1550 contract
9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Review draft witness/exhibit list and email to A. Jezisek
9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to and from C. Stone re: hearing preparations
                                                                          Telephone conference with A. Jezisek re: hearing preparations (not
9/2/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          billed)
9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to A. Jezisek re: additional materials re: Murdock
9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Emails re: potential offer on 1550 acre parcel
9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Emails re: proof of funds

9/2/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20          Telephone conference with C. Stone re: title issues and lis pendens
9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Emails with C. Stone re: 363 issues
                                                                          Follow up emails with C. Stone re: 363 issues and preparation of
9/2/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          pleadings
                                                                          Telephone conference with G. Milligan re: sales process,
9/2/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB20          witness/exhibit list and related matters
                                                                          Telephone conference with C. Stone re: hearing preparations, open
                                                                          issues, competing bid, title issues, potential Handprint Valley Ranch
9/2/2022 Weiss, Morris D.     $720.00       0.9     $648.00 CB20          settlement and related issues
                                                                          Telephone conference with E. White re: waterfall for upcoming sale
9/2/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20          and related issues
9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to C. Stone re: capital gains issue
                                                                          Email from and to E. White re: 439 acre sales proceeds, capital gains
9/2/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          and related matters

9/2/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          Telephone conference with C. Stone re: capital gains issue (not billed)
                                                                          Telephone conference with R. Escobedo re: status of Oklahoma sale,
9/2/2022 Weiss, Morris D.     $720.00       0.5     $360.00 CB20          proceeds and related issues
                                                                          Review draft contract supplement re: Reed surface rights and email
9/3/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          with K. Hurt re: same
                                                                          Email from and to G. Milligan re: Weaver analysis, capital gains taxes
9/3/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          and related matters

9/3/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          Several emails re: offer of 1550 acre parcel and respond to inquiry
                                                                          Review pleadings and documents in preparation for upcoming hearing
9/4/2022 Weiss, Morris D.     $720.00       0.7     $504.00 CB20          and outlined issues
9/6/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20          Email to K. Hurt and other brokers re: sale hearing
9/6/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Email E. Murdock notice of qualifying bid
9/6/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with Stewart Title re: commitment status
9/6/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with G. Milligan re: qualifying bids



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9/6/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with A. Jezisek and M. Weiss re: qualified bids and notice

                                                                          Email from H. Bordwin re: upcoming hearing and email to A. Jezisek
9/6/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          re: advising broker team of hearing/access information (not billed)

9/6/2022 Weiss, Morris D.     $720.00       0.8     $576.00 CB20          Continue hearing preparations, outline issues and review order

9/6/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Telephone conference with K. Hurt re: sale process re: 439 acres

9/6/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          Email to and from C. Stone re: Murdock contract and related matters
9/6/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email from and to C. Stone re: 439 acre sale
                                                                          Telephone conference with C. Stone re: hearing preparations and
9/6/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20          related issues

9/6/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          Further telephone conference with C. Stone re: hearing (not billed)
9/7/2022 Jezisek, Ann Marie   $210.00       0.6    $126.00 CB20           Revise order approving sale of 439 acres
9/7/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          Revise Anderson and I. Smith offer
9/7/2022 Stone, Courtney K.   $505.00         1    $505.00 CB20           Broker update meeting
9/7/2022 Stone, Courtney K.   $505.00       0.8    $404.00 CB20           Zoom with K. Hurt re: testimony preparations
9/7/2022 Stone, Courtney K.   $505.00       0.4    $202.00 CB20           Call with M. Weiss re: 439 contract and 1550 sale procedures
9/7/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Call with M. Weiss re: sale hearing preparations
9/7/2022 Stone, Courtney K.   $505.00       2.1   $1,060.50 CB20          Analyze draft 1550 sale contract re: lis pendens issues
9/7/2022 Stone, Courtney K.   $505.00       0.2    $101.00 CB20           Review and comment on letter re: partial interest sale

9/7/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with A. Jezisek re: further comments to Murdock contract
9/7/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with J. Cadenhead re: status of quiet title action
9/7/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with K. Reed re: Murdock contract
9/7/2022 Weiss, Morris D.     $720.00         1     $720.00 CB20          Broker call re: Oklahoma property
9/7/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to D. Castleberry re: attendees at hearing
                                                                          Telephone conference with C. Stone re: hearing preparations and title
9/7/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20          issues
                                                                          Telephone conference with E. White re: waterfall/distributions and
9/7/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20          related matters
9/7/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to A. Jezisek re: distribution authority in order
9/7/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Telephone conference with A. Jezisek re: order and revisions
9/7/2022 Weiss, Morris D.     $720.00       0.6     $432.00 CB20          Preparation call with K. Hurt and C. Stone re: hearing
9/7/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          Follow up call with C. Stone re: hearing (not billed)
9/7/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to K. Hurt re: map
9/7/2022 Weiss, Morris D.     $720.00       0.9     $648.00 CB20          Continue preparation of K. Hurt testimony
9/7/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to E. White re: waterfall
9/7/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20          Continue preparation of hearing outline and K. Hurt testimony
9/7/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB20          Complete draft and circulate same
                                                                          Review distribution waterfall for 439 acre sale and email comments to
9/7/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          E. White

9/8/2022 Jezisek, Ann Marie   $210.00       0.4      $84.00 CB20          Draft, finalize and file notice of filing redlined order approving sale
9/8/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          Revise distribution waterfall spreadsheet
9/8/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20          Email to R. Murdock re: exhibits for sale hearing
9/8/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20          Draft letter to court re: exhibits for sale hearing
9/8/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          Revise outline of K. Hurt hearing testimony

9/8/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          Draft and finalize amended witness and exhibit list for sale hearing
9/8/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          Prepare additional exhibits for sale hearing
9/8/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20          Email to court staff and counsel re: exhibits for sale hearing
9/8/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          Assemble hearing documents for M. Weiss
9/8/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB20          Call with M. Weiss re: sale hearing issues
9/8/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          Call with E. Murdock re: sale hearing and title status

9/8/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          Emails with M. Weiss and R. Escobedo re: 439 disbursement schedule
                                                                          Draft and distribute Oklahoma title status email in preparation for sale
9/8/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          hearing
9/8/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB20          Review and comment on 439 sale disbursement schedule
9/8/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Review and comment on witness and exhibit list

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9/8/2022 Stone, Courtney K.   $505.00       0.2      $101.00 CB20        Review and comment on notice of revised order
9/8/2022 Stone, Courtney K.   $505.00       0.9      $454.50 CB20        Review and revise proposed sale order
9/8/2022 Stone, Courtney K.   $505.00       0.1        $50.50 CB20       Email A. Jezisek re: sale order service
9/8/2022 Stone, Courtney K.   $505.00       0.2      $101.00 CB20        Email K. Hurt re: 1550 contract and lis pendens acreage
9/8/2022 Stone, Courtney K.   $505.00       0.2      $101.00 CB20        Review and distribute fully executed Murdock contract
9/8/2022 Stone, Courtney K.   $505.00       0.1        $50.50 CB20       Email J. Reed re: Murdock contract
                                                                         Telephone conference with G. Milligan re: upcoming hearing and
9/8/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20         pending matters
                                                                         Telephone conference with B. Huffman re: Vistra, solar market and
9/8/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB20         related matters

9/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20         Telephone conference with A. Jezisek re: amended witness/exhibit list
9/8/2022 Weiss, Morris D.     $720.00       0.9     $648.00 CB20         Telephone conference with K. Hurt re: preparation for hearing
9/8/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20         Email to A. Jezisek re: map (not billed)
9/8/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20         Email to A. Jezisek re: E. White spreadsheet (not billed)
                                                                         Telephone conference with A. Jezisek re: updating order and
9/8/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20         witness/exhibit list
9/8/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20         Review and revise draft order approving sale of 439 acres
                                                                         Review maps prepared by A. Jezisek, approve a version and email to A.
9/8/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20         Jezisek re: same (not billed)
9/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20         Review and respond re: proposed notice of revised order
9/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20         Meet with A. Jezisek re: status of open matters

9/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20         Review C. Stone revisions to 439 acre waterfall and approve same

9/8/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB20         Telephone conference with C. Stone re: upcoming hearing/title issues
9/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20         Email from and to D. Davis (counsel to Tango Lima) re: D. Smith

9/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20         Email from and to R. Escobedo re: withholding of capital gains taxes

9/8/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB20         Further call with C. Stone re: hearing preparation and title issues
                                                                         Telephone conference with A. Jezisek re: finalizing witness/exhibit list
9/8/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20         (not billed)
                                                                         Telephone conference with S. Lawrence (counsel to Farm Credit) re:
9/8/2022 Weiss, Morris D.     $720.00       0.9     $648.00 CB20         upcoming hearing

9/8/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20         Telephone conference with C. Stone re: discussion with S. Lawrence
                                                                         Telephone conference with G. Milligan re: status of upcoming hearing
9/8/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20         and discussions with parties
                                                                         Telephone conference with R. Escobedo re: upcoming hearing and
9/8/2022 Weiss, Morris D.     $720.00       0.5     $360.00 CB20         status of pending matters
                                                                         Receive and review K. Hurt and C. Stone comments to outline, revise
9/8/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20         outline and circulate same
                                                                         Review and respond to emails re: capital gains reserve amount in
9/9/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20         distribution waterfall
9/9/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20         Revise distribution waterfall
9/9/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20         Finalize and upload order approving sale
9/9/2022 Jezisek, Ann Marie   $210.00       0.1      $21.00 CB20         Email to courtroom deputy re: order approving sale
9/9/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20         Call with M. Weiss re: sale hearing
9/9/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20         Emails with Stewart Title re: commitment status
9/9/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20         Emails with A. Jezisek re: title exceptions and draft releases
9/9/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20         Emails with K. Hurt re: partial interest closing costs

9/9/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB20         Review 439 disbursement schedule and email R. Escobedo re: same
9/9/2022 Weiss, Morris D.     $720.00       0.6     $432.00 CB20         Continue preparations for hearing
9/9/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20         Telephone conference with K. Hurt re: upcoming hearing
9/9/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20         Emails from and to R. Escobedo re: capital gains tax reserve
9/9/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20         Emails with A. Jezisek re: revisions to exhibit to order
9/9/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20         Telephone conference with A. Jezisek re: order (not billed)
9/9/2022 Weiss, Morris D.     $720.00       1.2     $864.00 CB20         Attend hearing re: sale of 439 acres

9/9/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20         Telephone conference with A. Jezisek re: uploading order (not billed)
9/9/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20         Post hearing email from and to A. Laporte (not billed)



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                                                                        Telephone conference with G. Milligan re: hearing outcome and next
 9/9/2022 Weiss, Morris D.     $720.00       0.3      $216.00 CB20      steps
                                                                        Telephone conference with S. Lawrence re: exhibit to order and next
 9/9/2022 Weiss, Morris D.     $720.00       0.3      $216.00 CB20      steps
 9/9/2022 Weiss, Morris D.       $0.00       0.1         $0.00 CB20     Telephone conference with A. Jezisek re: status (not billed)
 9/9/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB20      Telephone conference with C. Stone re: hearing outcome

9/10/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB20          Emails with brokers and Oklamohma partial interest holders re: sale
                                                                           Email from P. Keiffer re: outcome of hearing and send to client (not
9/10/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          billed)
9/11/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email re: offer on Oklahoma property

9/13/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          Review docket for quiet title lawsuit and obtain copy of new filings
                                                                           Prepare and revise spreadsheet for proceeds distribution re: 1670
9/13/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          acres

9/13/2022 Jezisek, Ann Marie   $210.00       0.4      $84.00 CB20          Draft motion for bid procedures and sale of 1670 acres in Oklahoma
9/13/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB20          Call with J. Sanders re: closing issues on 439 acres
9/13/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to and from C. Fox re: interest of potential purchaser
9/13/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to and from J. Sanders re: pending projects

9/13/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to and from A. Jezisek re: waterfall of anticipated proceeds
                                                                           Telephone conference with C. Stone re: Handprint Valley Ranch,
9/13/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20          motion to sell red/yellow tracts and related matters
9/13/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to A. Jezisek re: updated title policy re: 439 acre tract
                                                                           Revise letter to C. Moser with Bosque County Appraisal Review Board
9/13/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          and distribute same to G. Milligan and A. Jezisek
                                                                           Telephone conference with A. Jezisek re: Bosque County and title
9/13/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          issues
9/13/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Follow up with C. Stone re: title issues
9/14/2022 Jezisek, Ann Marie   $210.00       1.4     $294.00 CB20          Draft bid procedures motion for 1670 acres
9/14/2022 Jezisek, Ann Marie   $210.00       2.8     $588.00 CB20          Research re: potential defendants for new quiet title lawsuit
9/14/2022 Lewis, Kendria S     $345.00         2     $690.00 CB20          Draft Releases of Judgment
9/14/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Call with K. Hurt re: title issues
9/14/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Call with M. Weiss re: title issues

9/14/2022 Stone, Courtney K.   $505.00       0.7     $353.50 CB20          Review, revise, and distribute sale papers for red and yellow tracts
9/14/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with K. Reed re: red and yellow sale contract
9/14/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with A. Jezisek re: sale papers and title related research

9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to and from C. Stone and J. Sanders re: call with G. Milligan
                                                                           Telephone conference with C. Stone re: status, Handprint Valley
9/14/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20          Ranch, red/yellow sale and related issues
                                                                           Telephone conferences with K. Hurt re: red/yellow map and
9/14/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB20          demonstrative
9/14/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email to C. Stone re: motion to sell red/yellow tracts

9/15/2022 Jezisek, Ann Marie   $210.00       0.5     $105.00 CB20          Continue research re: potential defendants for new quiet title lawsuit
                                                                           Call with G. Milligan, M. Weiss and C. Stone re: status of the 439 acres
9/15/2022 Sanders, Jimar A.    $560.00       0.9     $504.00 CB20          transaction
9/15/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          Call with M. Weiss re: sale motion comment

9/15/2022 Stone, Courtney K.   $505.00         1     $505.00 CB20          Zoom with G. Milligan, J. Sanders, and M. Weiss re: status of 439 sale
9/15/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB20          Call with J. Cadenhead re: status of quiet title suits

9/15/2022 Stone, Courtney K.   $505.00       1.4     $707.00 CB20          Review, revise, and distribute sale papers for red and yellow tracts

9/15/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with Stewart Title re: status of pending quiet title open items
9/15/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with K. Reed re: red and yellow sale contract
                                                                           Review prior correspondence with Vistra and email to B. Huffman re:
9/15/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          Vistra/next steps
                                                                           Zoom call with G. Milligan, C. Stone and J. Sanders re: pending
9/15/2022 Weiss, Morris D.     $720.00       1.1     $792.00 CB20          matters, open items, next steps and related matters



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                                                                        Email to courtroom deputy re: proposed timeline for hearings re: sale
9/16/2022 Jezisek, Ann Marie   $210.00       0.1        $21.00 CB20     of 1563 acres
                                                                        Draft and edit the Closing Checklist, and email draft of the Closing
9/16/2022 Sanders, Jimar A.    $560.00         2    $1,120.00 CB20      Checklist to C. Stone for review and comment
9/16/2022 Stone, Courtney K.   $505.00       0.8      $404.00 CB20      Call with K. Hurt re: partial interest holders and contract status
9/16/2022 Stone, Courtney K.   $505.00       0.5      $252.50 CB20      Call with M. Weiss re: status of sale contract and title issues
9/16/2022 Stone, Courtney K.   $505.00       1.8      $909.00 CB20      Review and revise 439 acre closing checklist
                                                                        Review and analyze open 439 acre commitment issues in connection
9/16/2022 Stone, Courtney K.   $505.00       2.9    $1,464.50 CB20      with quiet title suit and Handprint settlement
                                                                        Telephone conference with C. Stone re: status of Handprint Valley
9/16/2022 Weiss, Morris D.     $720.00       0.8      $576.00 CB20      Ranch, sale and related matters
                                                                        Email from and to B. Huffman re: communication with Vistra and
9/16/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB20     proposed response and respond to same
9/16/2022 Weiss, Morris D.     $720.00       0.1        $72.00 CB20     Emails re: solar lease with B. Huffman
9/18/2022 Stone, Courtney K.   $505.00       2.2    $1,111.00 CB20      Draft extended email detailing open title and closing issues
9/19/2022 Stone, Courtney K.   $505.00       1.1      $555.50 CB20      Revise and distribute extend email re: open title issues
                                                                        Review draft quiet title petition and email with J. Cadenhead and G.
9/19/2022 Stone, Courtney K.   $505.00       0.7      $353.50 CB20      Milligan re: same
9/19/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB20      Email from and to G. Milligan re: possible stalking horse bidder

                                                                           Draft and edit the Release of Mortgage for Farm Credit of Western
                                                                           Oklahoma, Release of Mortgage for Farm Credit of Central Oklahoma,
9/20/2022 Sanders, Jimar A.    $560.00       2.7   $1,512.00 CB20          Release of Mortgage for K. Smith and Release of Cattle Grazing Lease
                                                                           Email C. Stone the drafts of the Release Documents for the 439 acre
9/20/2022 Sanders, Jimar A.    $560.00       0.2     $112.00 CB20          tract for review and comment

9/20/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          Emails with G. Milligan and J. Cadenhead re: filing of quiet title action
                                                                           Email to G. Milligan re: solar tract and strategy, timing and related
9/20/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          issues
9/21/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          Revise sale timeline for 1563 acres
9/21/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          Prepare contract and addendum for sale to Parkers
9/21/2022 Jezisek, Ann Marie   $210.00         1     $210.00 CB20          Revise bid procedures motion for 1563 acres
9/21/2022 Stone, Courtney K.   $505.00       0.5     $252.50 CB20          Attend broker update call
9/21/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Call with M. Weiss re: pending sale‐related projects
9/21/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Email K. Hurt and D. Parker re: sale contract and process
                                                                           Emails with A. Jezisek and B. Wallace re: executed release of lis
9/21/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          pendens
                                                                           Emails with N. Reid re: open title commitment and settlement
9/21/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          statement issues
9/21/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Email S. Lawrence re: Farm Credit contact for red parcel
9/21/2022 Stone, Courtney K.   $505.00       1.8     $909.00 CB20          Review and distribute 1563 sale contract and motion papers
                                                                           Emails with A. Jezisek re: 1563 sale contract and bid procedures
9/21/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          schedule
9/21/2022 Weiss, Morris D.     $720.00       0.5     $360.00 CB20          Participate in Zoom call with Oklahoma brokers
                                                                           Emails with C. Stone re: potential purchaser of red/yellow parcels (not
9/21/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          billed)
                                                                           Telephone conference with C. Stone re: status of potential purchaser
9/21/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          and title issues
9/23/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Emails with C. Fox and K. Hurt re: undivided owners
9/23/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          Email from and to C. Fox re: offer on green parcel
                                                                           Email to G. Milligan, E. White and B. Huffman re: crypto miners and
9/23/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          tenant issues
                                                                           Emails with J. Cadenhead re: quiet title status and title commitment
9/26/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          issues

9/26/2022 Stone, Courtney K.   $505.00       1.1     $555.50 CB20          Review and comment on draft releases and email J. Sanders re: same
9/26/2022 Stone, Courtney K.   $505.00       1.9     $959.50 CB20          Review and update 439 closing checklist
9/26/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Email M. Weiss re: red parcel sale status
9/27/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Emails with K. Hurt re: sales effort in Oklahoma
9/27/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB20          Telephone conference with B. Huffman re: solar lease status
9/28/2022 Jezisek, Ann Marie   $210.00       0.5     $105.00 CB20          Begin reviewing emails re: Bent County minerals
                                                                           Analyze title company email responses to pending questions in
9/28/2022 Stone, Courtney K.   $505.00       1.8     $909.00 CB20          connection with open closing items and next steps
9/28/2022 Weiss, Morris D.     $720.00       0.3     $216.00 CB20          Receive Bent County email update and review same

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9/28/2022 Weiss, Morris D.     $720.00       0.2      $144.00 CB20      Email Bent County information to A. Jezisek

9/28/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Telephone conference with K. Hurt re: marketing and sales process
9/29/2022 Jezisek, Ann Marie   $210.00       0.5     $105.00 CB20          Continue reviewing emails re: Bent County minerals
                                                                           Revise the recordable release documents for the 439 acre tract
9/29/2022 Sanders, Jimar A.    $560.00       0.3     $168.00 CB20          transaction
9/29/2022 Stone, Courtney K.   $505.00       0.4     $202.00 CB20          Call with M. Weiss re: sale status and next steps
9/29/2022 Stone, Courtney K.   $505.00       0.1      $50.50 CB20          Email K. Lewis re: title company comments to Boomer release
                                                                           Analyze updated title commitments in connection with open closing
9/29/2022 Stone, Courtney K.   $505.00       4.5   $2,272.50 CB20          items and next steps
                                                                           Telephone conference with C. Stone re: pending matters including
9/29/2022 Weiss, Morris D.     $720.00       0.2     $144.00 CB20          Handprint Valley Ranch

9/29/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email from and to C. Stone re: title company update of commitment
                                                                           Submit request to Oklahoma Secretary of State for articles of
                                                                           organization and certificate of good standing for Canadian River Ranch
9/30/2022 Jezisek, Ann Marie   $210.00       0.3      $63.00 CB20          LLC, and locate operating agreement
                                                                           Review, research and respond to email from C. Stone re: release of lis
9/30/2022 Jezisek, Ann Marie   $210.00       0.2      $42.00 CB20          pendens
9/30/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          Call with K. Hurt re: Murdock and Broach
9/30/2022 Stone, Courtney K.   $505.00       0.3     $151.50 CB20          Emails with P. Keiffer re: 439 sale closing related items
                                                                           Emails with K. Hurt and G. Milligan re: Murdock property use pending
9/30/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          closing
9/30/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Email E. Murdock re: closing status
                                                                           Analyze updated title commitments in connection with open closing
9/30/2022 Stone, Courtney K.   $505.00       1.6     $808.00 CB20          items and next steps
                                                                           Draft and circulate extended email re: 439 acre closing items and next
9/30/2022 Stone, Courtney K.   $505.00       1.5     $757.50 CB20          steps
9/30/2022 Stone, Courtney K.   $505.00       0.2     $101.00 CB20          Email T. Beach re: open title questions re: quiet title suit
9/30/2022 Weiss, Morris D.       $0.00       0.1       $0.00 CB20          Email re: broker call postponement (not billed)
9/30/2022 Weiss, Morris D.     $720.00       0.1      $72.00 CB20          Email from C. Stone re: various title issues and review same
                                                                           Telephone conference with C. Stone re: title issues and related
9/30/2022 Weiss, Morris D.     $720.00       0.4     $288.00 CB20          matters
                                           211.3 $108,402.00               TOTAL FOR TASK CODE CB20 ‐ SALE PROCESS




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DATE       CODE       CATEGORY           AMOUNT    DESCRIPTION
5/10/2022 E105  TELEPHONE                  $6.02   Conference Call :7 participants for 78 minutes by: Morris Weiss @ 09:27AM
5/10/2022 E105  TELEPHONE                 $10.44   Conference Call :8 participants for 135 minutes by: Morris Weiss @ 09:58AM
5/12/2022 E105  TELEPHONE                  $9.84   Conference Call :3 participants for 127 minutes by: Morris Weiss @ 10:41AM

 6/1/2022 E105     TELEPHONE                $0.96 Conference Call :4 participants for 13 minutes by: Courtney Stone @ 00:01AM

 6/9/2022 E105     TELEPHONE                $4.75 Conference Call :6 participants for 64 minutes by: Courtney Stone @ 00:01AM

6/17/2022 E105     TELEPHONE               $52.43 Conference Call :8 participants for 706 minutes by: Courtney Stone @ 00:01AM
                   LITIGATION SUPPORT              Legility, LLC INVOICE#: INV00175576 DATE: 6/30/2022 Everlaw Monthly Fee for G.
6/30/2022 E118     SERVICES                $87.40 Milligan ‐ Estate of D. Smith
                   DELIVERY                        Air Courier Service ‐ (std rate) ‐ San Antonio, TX, United States Bankruptcy Court, June
 7/5/2022 E107     SERVICES/COURIERS       $23.86 22, 2022, (Ann Marie Jezisek)
                                                   CSC (Corporation Service Company) INVOICE#: 80875204022‐3 DATE: 7/11/2022 Filing
7/11/2022 E112     COURT FEES              $29.60 fee for Release of Abstract Judgment in Tarrant County
                                                   CSC (Corporation Service Company) INVOICE#: 808752044722‐4 DATE: 7/11/2022
7/11/2022 E112     COURT FEES              $23.60 Filing fee for Release of Abstract Judgment in Bent County
                                                   digATX (Sandaflor Enterprises LLC) INVOICE#: 4614 DATE: 7/13/2022 Copying and
7/13/2022 E102     OUTSIDE PRINTING      $264.16 mailout services
                                                   digATX (Sandaflor Enterprises LLC) INVOICE#: 4615 DATE: 7/15/2022 Copying and
7/15/2022 E102     OUTSIDE PRINTING     $1,080.60 mailout services
7/15/2022 E112     COURT FEES            $188.00 U.S. Bankruptcy Court ‐ Filing fee for motion to sell
                   DELIVERY                        Air Courier Service ‐ (std rate) ‐ Hillsboro, TX, Hill County Clerk, July 8, 2022, (Ann
7/19/2022 E107     SERVICES/COURIERS       $25.72 Jezisek)
                   DELIVERY                        Air Courier Service ‐ (std rate) ‐ Meridian, TX, Bosque County Clerk, July 8, 2022, (Ann
7/19/2022 E107     SERVICES/COURIERS       $26.58 Jezisek)
                   DELIVERY                        Air Courier Service ‐ (std rate) ‐ Eufaula, OK, McIntosh County Clerk, July 8, 2022, (Ann
7/19/2022 E107     SERVICES/COURIERS       $33.46 Jezisek)
                   LITIGATION SUPPORT              VENDOR: Legility, LLC INVOICE#: INV00177583 DATE: 7/31/2022 Everlaw Monthly Fee
7/31/2022 E118     SERVICES                $87.40 G. Milligan ‐ D. Smith
                                                   VENDOR: McIntosh County Clerk (OK) INVOICE#: 0422051MJ DATE: 8/2/2022 Fee for
 8/2/2022 E112     COURT FEES              $36.00 Recording Lis Pendens in McIntosh County
                                                   VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 4631 DATE: 8/3/2022 Copying
 8/3/2022 E102     OUTSIDE PRINTING      $171.05 and mailout services
                                                   VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 4626 DATE: 8/3/2022 Copying
 8/3/2022 E102     OUTSIDE PRINTING        $60.05 and mailout service
                                                   VENDOR: digATX (Sandaflor Enterprises LLC) INVOICE#: 4651 DATE: 8/12/2022
8/12/2022 E102     OUTSIDE PRINTING        $54.98 Copying and mailout services
                   DELIVERY                        Air Courier Service ‐ (std rate) ‐Eufaula, OK, McIntosh County Clerk, August 2, 2022,
8/15/2022 E107     SERVICES/COURIERS       $32.38 (Ann Jezisek)
                   DELIVERY                        Air Courier Service ‐ (std rate) ‐ San Antonio, TX, United States Bankruptcy Court,
8/15/2022 E107     SERVICES/COURIERS       $23.14 August 5, 2022, (Ann Marie Jezisek)
                                                   VENDOR: McIntosh County Clerk (OK) INVOICE#: 15081922MJ DATE: 8/19/2022
8/19/2022 E112     COURT FEES              $42.00 Recording fees for Releases of Lis Pendens
                                                   VENDOR: Jack H.W. Ray INVOICE#: 010053751516 DATE: 8/30/2022 Oklahoma
8/23/2022 E112     COURT FEES              $26.00 Secretary of State ‐ Filing fee for annual report for Canadian River Ranch LLC
8/26/2022 E106     ONLINE RESEARCH           $5.24 Lexis Online Research on 08/26/2022 by Ann Marie Jezisek
                   LITIGATION SUPPORT
8/31/2022 E118     SERVICES                $87.40 Legility, LLC INVOICE#: INV00179641 DATE: 8/31/2022
                   DELIVERY                       air Courier Service ‐ (std rate) ‐ Eufaula, OK, McIntosh County Clerk, August 22, 2022,
 9/6/2022   E107   SERVICES/COURIERS       $32.04 (Ann Jezisek)
 9/7/2022   E106   ONLINE RESEARCH         $12.56 Lexis Online Research on 09/07/2022 by Hannah Berny
9/15/2022   E112   COURT FEES              $10.00 OK County Records ‐ One month subscription for records
9/15/2022   E112   COURT FEES              $10.00 OK County Records ‐ Print tokens for records
                   DELIVERY                       Air Courier Service ‐ (std rate) ‐ San Antonio, TX, United States Bankruptcy Court,
9/19/2022 E107     SERVICES/COURIERS       $23.04 September 2, 2022, (Ann Marie Jezisek)
                   DELIVERY                       Air Courier Service ‐ (std rate) ‐ San Antonio, TX, United States Bankruptcy Court,
9/19/2022 E107     SERVICES/COURIERS       $24.67 September 8, 2022, (Ann Marie Jezisek)
9/26/2022 E112     COURT FEES              $30.00 McIntosh County Clerk (OK) INVOICE#: 150512622MJ DATE: 9/26/2022
9/30/2022 E112     COURT FEES               $5.20 Oklahoma Secretary of State INVOICE#: 010054573008
                                        $2,640.57 TOTAL EXPENSES


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                                     EXPENSES BY CATEGORY


CODE    DESCRIPTION                                              TOTAL
E101    COPIES                                                            $0.00
E102    OUTSIDE PRINTING                                              $1,630.84
E103    WORD PROCESSING                                                   $0.00
E104    FACSIMILE                                                         $0.00
E105    TELEPHONE                                                        $84.44
E106    ONLINE RESEARCH                                                  $17.80
E107    DELIVERY SERVICES/COURIERS                                      $244.89
E108    POSTAGE                                                           $0.00
E109    LOCAL TRAVEL                                                      $0.00
E110    OUT OF TOWN TRAVEL                                                $0.00
E111    MEALS (LOCAL)                                                     $0.00
E112    COURT FEES                                                      $400.40
E113    SUBPOENA FEES                                                     $0.00
E114    WITNESS FEES                                                      $0.00
E115    DEPOSITION TRANSCRIPTS                                            $0.00
E116    TRIAL TRANSCRIPTS                                                 $0.00
E117    TRIAL EXHIBITS                                                    $0.00
E118    LITIGATION SUPPORT VENDORS                                      $262.20
E119    EXPERTS                                                           $0.00
E120    INVESTIGATORS                                                     $0.00
E121    ARBITRATORS/MEDIATORS                                             $0.00
E122    LOCAL COUNSEL                                                     $0.00
E123    OTHER PROFESSIONALS                                               $0.00
E124    OTHER                                                             $0.00
        TOTAL                                                         $2,640.57




                                                                             EXHIBIT D
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